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                                                                               Page 1
                  UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION
         ---------------------------------X
         FAIR FIGHT, INC., SCOTT BERSON,                       :
         JOCELYN HEREDIA, AND JANE DOE,                        :
                                     Plaintiffs,               :
             v.                                                : Case No.:
                                                               : 2:20-CV-00302-SCJ
         TRUE THE VOTE, INC., CATHERINE                        :
         ENGELBRECHT, DEREK SOMERVILLE,                        :
         MARK DAVIS, MARK WILLIAMS,                            :
         RON JOHNSON, JAMES COOPER, AND                        :
         JOHN DOES 1-10,                                       :
                                     Defendants.               :
         ---------------------------------X


            Deposition of GREGG PHILLIPS, as the corporate
         representative of OpSec Group LLC and individually
                                Conducted Virtually
                           Tuesday, January 25, 2022
                                     10:02 a.m. ET



         Reported by: Matthew Goldstein, RMR, CRR


         __________________________________________________
                                   DIGITAL EVIDENCE GROUP
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   1            Deposition of GREGG PHILLIPS, conducted

   2     virtually:

   3            Pursuant to Notice, before Matthew Goldstein,

   4     RMR, CRR, Notary Public in and for the State of

   5     Maryland.

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   1                          A P P E A R A N C E S
   2     ON BEHALF OF THE PLAINTIFFS:
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 11
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 13      THE BOPP LAW FIRM
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 14      Terre Haute, Indiana 47807
         812.232.2434
 15
 16      ALSO PRESENT:
 17      DESHAWN WHITE - VIDEOGRAPHER/EXHIBIT
 18                              TECHNICIAN
 19      TINA MENG, ELIAS LAW GROUP
 20
 21
 22


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                                                                                   Page 6
   1                  THE VIDEOGRAPHER:                This is Tape Number 1

   2     for the videotaped deposition of Gregg Phillips in

   3     the matter of Fair Fight, Incorporated, et al.,

   4     versus True the Vote in the United States District

   5     Court for the Northern District of Georgia, the

   6     Gainesville Division.                Case

   7     Number 2:20-CV-00302-SCJ.

   8                    This deposition is being held by Zoom

   9     video remote conferencing, the physical recording

 10      in Fredericksburg, Virginia, on January 25th,

 11      2022.

 12                     The time on the video screen is

 13      10:02 a.m. Eastern Time.

 14                     My name is DeShawn White.                     I am the

 15      legal videographer from Digital Evidence Group.

 16                     The court reporter is Matthew Goldstein

 17      in association with Digital Evidence Group.

 18                     Will counsel please introduce themselves

 19      for the record.

 20                     MR. SHELLY:           I'm Jacob Shelly with Elias

 21      Law Group on behalf of the plaintiffs.

 22                     MS. BRYAN:          Good morning.             Leslie Bryan,



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                                                                             Page 7
   1     Lawrence & Bundy, on behalf of the plaintiffs.

   2                    MS. MENG:         Hi.      This is Tina Meng with

   3     Elias Law Group on behalf of plaintiffs as well.

   4                    MR. BOPP:         I'm done with your counsel

   5     being introduced.             Thank you.

   6                    James Bopp, attorney for defendants, and

   7     here Gregg Phillips and his company.

   8                    THE VIDEOGRAPHER:               Will the court

   9     reporter please swear in the witness.

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                                                                                   Page 8
   1                          P R O C E E D I N G S

   2     Whereupon,

   3                             GREGG PHILLIPS,

   4     being first duly sworn or affirmed to testify to

   5     the truth, the whole truth, and nothing but the

   6     truth, was examined and testified as follows:

   7           EXAMINATION BY COUNSEL FOR THE PLAINTIFFS

   8     BY MR. SHELLY:

   9            Q.      Thank you.

 10                     Good morning, Mr. Phillips.                        I'm Jacob

 11      Shelly and I represent the plaintiffs in this

 12      case.

 13                     Can you repeat your full name for the

 14      record.

 15             A.      Gregg Alan Phillips.

 16             Q.      And your address for the record?

 17             A.      1752 Coates Pass, Birmingham, Alabama

 18      35242.

 19             Q.      Is that where you are right now?

 20             A.      Yes.

 21             Q.      Have you ever been deposed before?

 22             A.      Yes.



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                                                                               Page 9
   1            Q.      How many times?

   2            A.      Many.

   3            Q.      In what kinds of cases?

   4            A.      Mostly related to my various work as a

   5     government employee.

   6            Q.      When was the most recent?

   7            A.      I don't know.

   8            Q.      Have you ever been deposed over a web

   9     platform before?

 10             A.      No.

 11             Q.      Okay.      So I'd like to start by going

 12      over a few ground rules for the deposition so that

 13      we all have the same understanding.

 14                     All testimony today is under oath just

 15      as if you were testifying in court.

 16                     Does that make sense?

 17             A.      Yes.

 18             Q.      For the benefit of everyone and the

 19      court reporter, and especially since we are all

 20      remote, please make your answers audible.                         Head

 21      shakes and nods are hard to put on the record.

 22      Okay?



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                                                                                 Page 10
   1            A.      Yes.

   2            Q.      Please allow me to finish my question

   3     before giving your answer.                    That will help us have

   4     a clean transcript for the record.

   5                    Sound good?

   6            A.      Yes.

   7            Q.      From time to time, your attorney may

   8     make an objection to my question.                         And that's

   9     fine, but you are to answer regardless unless he

 10      specifically instructs you not to answer.

 11                     Does that make sense?

 12             A.      Yes.

 13             Q.      If at any point you do not understand a

 14      question that I'm asking, please let me know and I

 15      will do my best to rephrase or clarify.                           And if

 16      you do answer, I will assume you understood the

 17      question.

 18                     Is that fair?

 19             A.      Yes.

 20             Q.      If at any time you would like to take a

 21      break, please let me know and I'll try to find a

 22      good place to stop and we can go off the record



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                                                                            Page 11
   1     for a few minutes.             The only exception is that if

   2     I asked you a question, I ask that you answer the

   3     question before we take a break.                        Okay?

   4            A.      Okay.

   5            Q.      How are you viewing this deposition?

   6     Are you on a laptop or phone?

   7            A.      Laptop.

   8            Q.      Do you have any documents with you,

   9     either hard copies or electronic?

 10             A.      No.

 11             Q.      Is anyone else in the room with you?

 12             A.      No.

 13             Q.      Because we are taking your deposition

 14      remotely, I may not always be able to see what you

 15      have in front of you, who enters the room while

 16      you are testifying.              You understand that it would

 17      not be appropriate for your attorney or anyone

 18      else to tell you how to answer a particular

 19      question that I ask?

 20             A.      Yes.

 21             Q.      And you agree that while you are

 22      testifying today, you will not exchange



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                                                                               Page 12
   1     communications, whether by text, e-mail or other

   2     messaging, about how to answer the questions that

   3     I ask?

   4            A.      Yes.

   5            Q.      All right.          What did you do to prepare

   6     for today's deposition?

   7            A.      Read through documents.                    Read the --

   8     looked at the law, looked at files, looked at some

   9     of your filings -- or the filings.

 10             Q.      And besides your counsel, did you talk

 11      to anybody about today's deposition?

 12             A.      No.

 13                     MR. SHELLY:           Can we pull up Exhibit A

 14      and mark it as Exhibit 1.

 15                     (Phillips Deposition Exhibit 1 was

 16      marked for identification and attached to the

 17      transcript.)

 18      BY MR. SHELLY:

 19             Q.      Do you recognize this document,

 20      Mr. Phillips?          There's a few pages.                  We can scroll

 21      through.

 22             A.      Yes.



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                                                                            Page 13
   1            Q.      Do you understand that you have been

   2     designated as a representative to answer questions

   3     on behalf of OpSec Group LLC?

   4            A.      Yes.

   5            Q.      And are you prepared to testify about

   6     all the topics in Exhibit A, which we can scroll

   7     to if that would be helpful?                     It's a few pages

   8     down.

   9                    MR. BOPP:         I think this is a time for me

 10      to interject an objection.                    We of course want to

 11      preserve the objections we have made to the scope

 12      of the subject matters that you are intending to

 13      ask.     And in order to expedite this, we would like

 14      to make a continuing objection, with your

 15      agreement; otherwise we'll just object to every

 16      one or whatever.

 17                     And the continuing objections would be

 18      any questions regarding any activities of the

 19      deponent prior to the 2016 election, any

 20      activities of the deponent in any other place

 21      other than Georgia, any activities of the deponent

 22      except for voter eligibility challenges



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                                                                            Page 14
   1     preelection in the Georgia runoff election, and

   2     any questions regarding the activities of King

   3     Street Patriots.            So we'd like to have a

   4     continuing objection to that, with your agreement,

   5     to expedite this.

   6                    MR. SHELLY:           Yes, I agree to that.

   7                    MR. BOPP:         Thank you.

   8     BY MR. SHELLY:

   9            Q.      So, Mr. Phillips, my question is, those

 10      objections having been heard, are you otherwise

 11      prepared to testify to each of the topics in

 12      Exhibit A?

 13             A.      Yes.

 14                     MR. SHELLY:           Can we pull up Exhibit B.

 15                     (Phillips Deposition Exhibit 2 was

 16      marked for identification and attached to the

 17      transcript.)

 18      BY MR. SHELLY:

 19             Q.      And do you recognize this document?

 20             A.      Yes.

 21             Q.      Do you understand that you are also

 22      being deposed in your individual capacity?



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                                                                            Page 15
   1            A.      Yes.

   2            Q.      And, similarly, to make this as

   3     efficient as possible, to save us the trouble of

   4     asking and answering all my questions twice, do

   5     you agree that your answers this morning may be

   6     attributed to you and OpSec unless specified

   7     otherwise?

   8            A.      Yes.

   9            Q.      Great.

 10                     MR. SHELLY:           You can take that down.

 11      BY MR. SHELLY:

 12             Q.      And I'd like to start with just some

 13      brief background.

 14                     Where did you grow up, Mr. Phillips?

 15             A.      I was a military brat and grew up all

 16      over the world.

 17             Q.      Okay.      Where did you go to college?

 18             A.      University of Alabama.

 19             Q.      And what was your major?

 20             A.      Commerce and business administration.

 21             Q.      Did you complete any course work in

 22      econometrics or statistics?



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                                                                                   Page 16
   1            A.      Yes.

   2            Q.      Can you describe that course work?

   3            A.      I don't recall specifically, but it was

   4     part of the degree program.

   5            Q.      Okay.      Did you go to graduate school?

   6            A.      No.

   7            Q.      Have you received any other training in

   8     data analysis?

   9            A.      I've taken many courses and supporting

 10      training for tools that we use in our work.

 11             Q.      What kind of course work?

 12             A.      Training to use the tools that we use.

 13             Q.      And who provided that training?

 14             A.      The vendors generally.

 15             Q.      And what did you do after college?

 16             A.      Went to work.

 17             Q.      Just a high-level overview of some of

 18      the positions you've had, the kind of work that

 19      you've done.

 20             A.      I've worked in dozens of political

 21      campaigns.        I've worked for parties.                        I've worked

 22      for governments, candidates.                     I've worked -- I



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                                                                                    Page 17
   1     don't know if that's enough.

   2            Q.      Sure.

   3                    What kinds of tasks did you provide for

   4     the campaigns and candidates that you worked for?

   5            A.      Everything, maintaining.

   6            Q.      Did you provide data analysis

   7     specifically?

   8            A.      Occasionally.

   9            Q.      Okay.      What political party did the

 10      candidates you worked and volunteered for belong

 11      to?

 12             A.      Generally the Republican Party.

 13             Q.      Have you ever supported Democrats?

 14             A.      Yes.

 15             Q.      Have you ever worked for a Democrat?

 16             A.      Yes.

 17             Q.      Which one?

 18             A.      I'm not at liberty to say.                         We do

 19      research for a lot of folks.

 20             Q.      When is the last presidential election

 21      that you think a Democrat won fairly?

 22                     MR. BOPP:         I object.           It couldn't be



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                                                                                  Page 18
   1     more irrelevant what his opinion about that

   2     subject is.

   3                    But you may answer if you know.

   4                    THE WITNESS:            I don't have an opinion.

   5     BY MR. SHELLY:

   6            Q.      Do you have an opinion about whether

   7     President Biden was elected fairly?

   8                    MR. BOPP:         Same objection.                  And

   9     furthermore, it is beyond the scope of the subject

 10      matters and therefore I instruct him not to

 11      answer.

 12                     MR. SHELLY:           Okay.       I'll ask this

 13      question specifically in his individual capacity.

 14                     THE WITNESS:            I don't have an opinion.

 15      BY MR. SHELLY:

 16             Q.      I'd like to ask you a few questions

 17      about your work with True the Vote.

 18                     When did you first meet Catherine

 19      Engelbrecht?

 20             A.      Sometime 2014 maybe.

 21             Q.      Okay.      And how were you introduced to

 22      her?



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                                                                             Page 19
   1            A.      A mutual friend.

   2            Q.      Why were you introduced to her?

   3            A.      She had been targeted by the United

   4     States Government and several agencies of the

   5     government.         I'd had a similar experience.                 And

   6     the mutual friend thought it would be wise for us

   7     to meet and talk.

   8            Q.      Okay.      Did you decide to work for her at

   9     that time?

 10             A.      I've never worked for her.

 11             Q.      Okay.      What did you know about True the

 12      Vote at that time?

 13             A.      I don't know.

 14             Q.      And when did you become aware of True

 15      the Vote?

 16             A.      Like a lot of people, probably in 2018

 17      maybe.      I don't recall specifically.

 18             Q.      Okay.      You were familiar with True the

 19      Vote before you met Ms. Engelbrecht?

 20             A.      Yes.

 21             Q.      Okay.      What made you -- were you

 22      interested in the work that True the Vote was



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                                                                            Page 20
   1     doing?

   2            A.      Yes.

   3            Q.      And why was that?

   4            A.      I don't understand the question.

   5            Q.      What about True the Vote's work were you

   6     interested in?

   7            A.      I have a high level of interest in free

   8     and fair elections.

   9            Q.      Did you think that voter fraud was a

 10      problem 2010 to 2014?

 11                     MR. BOPP:         I object.           It goes -- it's

 12      irrelevant and it's also beyond the scope of the

 13      subject matter, so I instruct him not to answer.

 14      BY MR. SHELLY:

 15             Q.      Okay.      I'll ask you in your individual

 16      capacity.

 17                     Why did you -- did you think that voter

 18      fraud was a problem?

 19                     MR. BOPP:         I object, but he can answer

 20      on the grounds that I mentioned.

 21                     THE WITNESS:            I think that broadly our

 22      elections are not free and not fair.



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                                                                                 Page 21
   1     BY MR. SHELLY:

   2            Q.      And why is that?

   3            A.      The process is established in such a way

   4     to prevent it.

   5            Q.      And what about the process do you think

   6     needs to be changed?

   7                    MR. BOPP:         I object to the question.                 It

   8     goes beyond the scope of the subject matter, so I

   9     instruct him not to answer.

 10      BY MR. SHELLY:

 11             Q.      Are you aware of any federal elections

 12      where fraudulent voting has affected the outcome?

 13                     MR. BOPP:         I object to the question

 14      being beyond the scope of the subject matter and

 15      instruct him not to answer.

 16      BY MR. SHELLY:

 17             Q.      I'll ask you in your individual

 18      capacity.

 19             A.      I don't recall the question.                       I'm sorry.

 20             Q.      Are you aware of any federal elections

 21      where fraudulent voting has affected the outcome?

 22             A.      Yes.



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                                                                                 Page 22
   1            Q.      Which ones?

   2            A.      Dozens.        All that we've looked at.

   3            Q.      Can you name a few for me?

   4            A.      No.

   5            Q.      Why not?

   6            A.      I don't -- I don't have any right off

   7     the --

   8                    MR. BOPP:         I object to the question as

   9     going beyond the scope of the subject matter.

 10      You've asked, you know, a question regarding the

 11      history of the world and therefore instruct him

 12      not to answer.

 13      BY MR. SHELLY:

 14             Q.      I'm asking in your individual capacity.

 15      This is about trying to prevent fraud in an

 16      election.       And so I'm asking you to name an

 17      example where fraud has affected the outcome of an

 18      election.

 19             A.      You want me to pick one out?                       I'm sorry.

 20      I just don't understand what you're asking.

 21             Q.      Yes.

 22                     Can you pick one out?



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                                                                                      Page 23
   1            A.      Chief Justice Perry Hooper in Alabama

   2     ran for chief justice in the Alabama Supreme Court

   3     in 1994 and fraud affected the outcome of the

   4     election.       And it took the United States Supreme

   5     Court eight months to finally get him seated.

   6            Q.      My question was actually, are you aware

   7     of any federal elections?

   8            A.      I don't have one right off the top of my

   9     head.

 10             Q.      Okay.      When did you first agree to work

 11      with True the Vote?

 12             A.      2014.

 13             Q.      And what did you agree to do?

 14             A.      Help them as needed.                  I served on the

 15      board for a few years.

 16             Q.      And when were you on the board?

 17             A.      I don't recall the exact years.                        I think

 18      2014 through 2018 maybe, maybe 2017.                              I don't

 19      recall when I left.

 20             Q.      Okay.      And why did you leave the board?

 21             A.      I had other work that I was involved in.

 22             Q.      And I think you said something like you



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                                                                            Page 24
   1     did all kinds of tasks.

   2                    Can you be more specific about what you

   3     did for True the Vote?

   4             A.     Assisted with some of their technology

   5     work, their queries, their preparation of data for

   6     use in their systems.

   7             Q.     What kinds of data?

   8             A.     Election registration data.

   9             Q.     And what did you do with the

 10      registration data?

 11             A.      We just helped them load it.

 12             Q.      How did they need help?

 13             A.      It's called an extract transfer and

 14      load.     It's a process through which you take a

 15      source file and get it loaded into a separate

 16      system or separate database.

 17             Q.      And what was that data used for?

 18             A.      I don't know.

 19             Q.      When did you first analyze election data

 20      for signs of fraud?

 21                     MR. BOPP:         I object to the question.            It

 22      goes beyond the scope of the subject matters,



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                                                                                 Page 25
   1     therefore, and instruct him not to answer.

   2     BY MR. SHELLY:

   3            Q.      I'm asking you in your individual

   4     capacity.

   5                    MR. BOPP:         I also object.              It goes

   6     beyond the court's order and it goes beyond -- as

   7     well that is limited to 2012 and instruct him not

   8     to answer.

   9                    MR. SHELLY:           Fair enough.

 10      BY MR. SHELLY:

 11             Q.      Have you -- did you analyze election

 12      data for signs of fraud --

 13                     MR. BOPP:         I object.           Your question is

 14      going beyond the scope of the court's order.

 15                     MR. SHELLY:           I am not -- I have not

 16      completed my question yet.                    I'm sorry.

 17                     MR. BOPP:         Oh, I'm sorry about that.

 18      BY MR. SHELLY:

 19             Q.      I'll go ahead and move on.

 20                     In 2016, Mr. Phillips, did you tweet

 21      from the handle @JumpVote?

 22             A.      Yes.



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                                                                                  Page 26
   1                    MR. SHELLY:           Can we pull up Exhibit Q.

   2                    (Phillips Deposition Exhibit 3 was

   3     marked for identification and attached to the

   4     transcript.)

   5                    THE VIDEOGRAPHER:               Counsel, did I miss

   6     something?        Are you waiting for something?

   7                    MR. SHELLY:           Can you pull up Exhibit Q,

   8     please.

   9                    THE VIDEOGRAPHER:               Yes, my apologies.

 10                     You said Q?

 11                     MR. SHELLY:           Yes, as in queen.

 12                     Okay.      The formatting on this is not

 13      great, but can you scroll down to a heading that

 14      starts with "Where's the report?" in bold?                          It

 15      will be a few pages.               Right there.             Up.   Up.

 16      Right there.         Thank you.           Yes.       Yes.

 17      BY MR. SHELLY:

 18             Q.      So these were screenshots that didn't

 19      keep all the formatting when I saved them, but

 20      you'll see there's these tweets in the middle on

 21      November 13th, 2016.

 22                     Did you tweet "We have verified more



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                                                                                Page 27
   1     than three million votes cast by non-citizens.                            We

   2     are joining @TrueTheVote to initiate legal action.

   3     #unrigged"?

   4                    MR. BOPP:         What -- I'm sorry.               What is

   5     the date of this?

   6                    MR. SHELLY:           This is November 13th,

   7     2016.

   8                    THE WITNESS:            There's some false stuff

   9     in here.       I don't even know what VoteFraud.org is.

 10      I don't even know what some of this stuff is.

 11      BY MR. SHELLY:

 12             Q.      My question isn't about the source.                      It

 13      was just to present these tweets from @JumpVote.

 14                     And my question is simply, is this your

 15      tweet from November 13th?

 16             A.      I have no idea.              I'm not on Twitter

 17      anymore.       I don't recall.

 18             Q.      Did you tweet about 3 million votes

 19      being cast by non-citizens after the November 2016

 20      election?

 21                     MR. BOPP:         I object to the question.                It

 22      goes beyond the scope of the subject matter, which



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                                                                               Page 28
   1     are limited to five states under the court's

   2     order.      And this goes way beyond that and,

   3     therefore, instruct him not to answer.

   4     BY MR. SHELLY:

   5            Q.      Okay.      I'll ask you in your individual

   6     capacity.

   7                    MR. BOPP:         Same objection, but I won't

   8     instruct him not to answer.

   9                    THE WITNESS:            What was the question?

 10      BY MR. SHELLY:

 11             Q.      Did you tweet about -- my question was,

 12      did you tweet about 3 million votes being cast by

 13      non-citizens after the November 2016 election?

 14                     MR. BOPP:         I'm sorry.           Even in his

 15      personal capacity, the court order is "Plaintiffs

 16      shall limit the questions regarding True the Vote

 17      and OpSec pre and post election to 2012 onward and

 18      the following states," five states.                          So this goes

 19      beyond the court's order.                   I instruct him not to

 20      answer.

 21      BY MR. SHELLY:

 22             Q.      After the November 2016 election, did



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                                                                            Page 29
   1     you analyze whether any non-citizens voted in

   2     Georgia?

   3            A.      I don't recall specifically.

   4            Q.      Were there some states that you did not

   5     look into whether non-citizens voted after the

   6     November 2016 election?

   7                    MR. BOPP:         I object.           That goes beyond

   8     the court's order limited to the five states, and

   9     I instruct him not to answer.

 10                     MR. SHELLY:           Well, it appears to me that

 11      he analyzed non-citizen voting in all 50 states.

 12      And so which -- would at least cover the five

 13      states that the court has allowed us to answer on.

 14      So I'm trying to see is there an exception for

 15      those five states.             If he did not analyze any data

 16      in those five states, I'll move on, but my

 17      question is to confirm whether he picked out those

 18      five states and did not do any of the analysis in.

 19                     THE WITNESS:            I don't recall.

 20      BY MR. SHELLY:

 21             Q.      You do not recall if there were states

 22      that you did not analyze non-citizen voting in



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                                                                              Page 30
   1     after the November 2016 election?

   2                    MR. BOPP:         I object to the question.               It

   3     goes beyond the five specified targeted states.                           I

   4     instruct him not to answer.

   5                    MR. SHELLY:           Mr. Bopp, can you remind me

   6     what the five states are?                   I don't want to ask a

   7     question and to guess wrong.

   8                    MR. BOPP:         Sure.        It is in your --

   9                    MR. SHELLY:           I can find it.

 10                     MR. BOPP:         -- but I'll help you.            Sure.

 11      Georgia, Texas, Ohio, Pennsylvania, Michigan and

 12      Wisconsin.        And actually --

 13                     MR. SHELLY:           Thank you.           I appreciate

 14      that.

 15                     MR. BOPP:         That's actually six states,

 16      so I misspoke.

 17                     MR. SHELLY:           I think five in addition to

 18      Georgia.

 19                     MR. BOPP:         Yes, right, exactly.

 20                     MR. SHELLY:           Okay.

 21                     MR. BOPP:         I guess that is how we used

 22      it.    Fair enough.



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                                                                            Page 31
   1                    MR. SHELLY:           I appreciate that.

   2     BY MR. SHELLY:

   3            Q.      So to just make my question specific for

   4     you, Mr. Phillips.

   5                    After the 2016 election, did you analyze

   6     non-citizen voting in Georgia, Texas, Ohio,

   7     Pennsylvania, Michigan or Wisconsin?

   8            A.      I just don't recall the scope of the

   9     look.

 10             Q.      Is it possible that you analyzed

 11      non-citizen voting in those states?

 12             A.      I just don't recall.

 13             Q.      Okay.      But do you agree that you

 14      analyzed non-citizen voting after the

 15      November 2016 election?

 16                     MR. BOPP:         I object to the question.            It

 17      goes beyond the scope of the subject matter and

 18      beyond the scope of the court's order to you to

 19      limit your questions to six states and instruct

 20      him not to answer.

 21                     MR. SHELLY:           My understanding is that

 22      Judge Jones provided that unless it's privileged,



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                                                                              Page 32
   1     that counsel should not instruct him not to

   2     answer, that those disputes can be taken up with

   3     him directly, that the depositions should proceed.

   4                    MR. BOPP:         I've made my objection.

   5                    MS. BRYAN:          But specifically, Mr. Bopp,

   6     the judge's order of December 22nd says, "Defense

   7     counsel shall not" --

   8                    MR. BOPP:         I object to any other counsel

   9     participating in this deposition.                         You get one

 10      person.      You don't get a team.                   And I am not going

 11      to have this deponent subject to more than one

 12      lawyer.      So I made my objection.                    You know, you

 13      can -- Jacob can, of course, respond for the

 14      record, but I made my objection.

 15                     MR. SHELLY:           Okay.       The court's

 16      order provides --

 17                     (Unintelligible cross-talk.)

 18                     MS. BRYAN:          -- and it's on page 2 of the

 19      judge's order.

 20                     MR. SHELLY:           Mr. Bopp, I understand that

 21      you made the objection for the record, and that's

 22      been noted, but our understanding of the judge's



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                                                                            Page 33
   1     order is that defense counsel shall not instruct

   2     individual and Rule 30(b)(6) witnesses to not

   3     answer questions.             And that's on page 2 of his

   4     order.

   5                    MR. BOPP:         I'm not going to debate you.

   6     I've made my objection.

   7                    MR. SHELLY:           Okay.       So you're going to

   8     permit your witness to answer the question?

   9                    MR. BOPP:         No, I've instructed him not

 10      to answer.

 11                     MR. SHELLY:           Okay.       Let's take a

 12      five-minute recess, please.

 13                     THE VIDEOGRAPHER:               The time is

 14      10:33 a.m.        We are now off the record.

 15                     (Recess from the record.)

 16                     THE VIDEOGRAPHER:               The time is

 17      10:45 a.m.        We are now on the record.

 18                     MR. SHELLY:           Okay.       So what we intend to

 19      do is that I'm going to ask the questions that I

 20      had intended.          If -- Mr. Bopp, if you intend to

 21      continue to make your objections, we'd like to get

 22      those all on the record and then we will take it



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                                                                            Page 34
   1     up with Judge Jones.

   2     BY MR. SHELLY:

   3            Q.      So my question for you, Mr. Phillips,

   4     is, did you analyze non-citizen voting after the

   5     2016 election?

   6                    MR. BOPP:         I object to the question as

   7     going beyond the scope of the six states the judge

   8     ordered you to limit your questions to, and

   9     therefore I instruct him not to answer.

 10      BY MR. SHELLY:

 11             Q.      Okay.      And for the 30(b)(6) topics, just

 12      to put on the record that Topic Number 2 requested

 13      your background and familiarity with data analysis

 14      and record linkage related to OpSec's activities

 15      in the targeted states from 2012 onwards.

 16                     Number 8 asks about your communication

 17      and coordination with True the Vote, Catherine

 18      Engelbrecht, Derek Somerville, Mark Davis, Mark

 19      Williams, Ron Johnson, James Cooper, and other

 20      persons to conduct voter and election-related

 21      activities in any of the targeted states from 2012

 22      onwards.



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                                                                               Page 35
   1                    And I would further clarify that I am

   2     asking in your individual capacity.                          And so we do

   3     not believe those same limitations would apply

   4     about being outside the scope of the questions in

   5     the 30(b)(6) notice.

   6                    MR. BOPP:         I've made my objection and

   7     instructed the witness not to answer, including in

   8     his individual capacity because it violates the

   9     court order limiting the questions.

 10      BY MR. SHELLY:

 11             Q.      Okay.      Mr. Phillips, did you obtain a

 12      record of everyone who voted in the 2016 election?

 13                     MR. BOPP:         I object.           It goes beyond the

 14      scope of both the subject matter and the court's

 15      order limiting it to six states, and I instruct

 16      him not to answer.

 17      BY MR. SHELLY:

 18             Q.      Mr. Phillips, how did you verify the

 19      citizenship status of individuals who had voted in

 20      the six states in the 2016 election?

 21             A.      We have a -- we have compiled a database

 22      over the years of research and access to our



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                                                                                 Page 36
   1     database and made a match.

   2            Q.      And where do you get citizenship data

   3     from?

   4            A.      We have -- we have --

   5                    MR. BOPP:         Excuse me.

   6                    I object to the question.                     It goes

   7     beyond the scope of the subject matter which, with

   8     respect to the two states, are limited to data

   9     analysis and record linkage, in number 2, and

 10      voter registry and research in number 3.

 11                     So you are beyond the scope of your

 12      subject matter specification, so I instruct him

 13      not to answer.

 14      BY MR. SHELLY:

 15             Q.      Mr. Phillips, what year was OpSec

 16      founded?

 17             A.      The company --

 18             Q.      Yes.

 19             A.      -- was founded in 2020.

 20             Q.      Okay.      So for these questions that are

 21      before OpSec was created, these will be questions

 22      in your individual capacity without regard to the



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                                                                               Page 37
   1     topics that were in Exhibit A.

   2                    MR. BOPP:         Okay.        If you want to ask a

   3     question in the individual capacity, go ahead and

   4     I'll determine whether or not to object.                          Thank

   5     you.

   6     BY MR. SHELLY:

   7            Q.      Where do you obtain citizenship data

   8     from?

   9                    MR. BOPP:         I object.           It goes beyond the

 10      court's order limiting it to 2012 forward and in

 11      the six specified states.                   I instruct him not to

 12      answer.

 13      BY MR. SHELLY:

 14             Q.      Okay.      And one of the tweets that we

 15      looked at -- we can pull it up again if it's

 16      necessary to refresh your recollection -- you

 17      tweeted, "We are joining hashtag [sic] TrueTheVote

 18      to initiate legal action."

 19                     My question is, who had you discussed

 20      this with at True the Vote?

 21                     MR. BOPP:         I object.           The -- that goes

 22      beyond the court's order, which limits your



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                                                                                    Page 38
   1     questions to 2012 onward and the six states.                               And

   2     you're not limiting it to that, and I instruct him

   3     not to answer.

   4                    MR. SHELLY:           Your objection is related

   5     to the six states, and my question was who he

   6     discussed this with at True the Vote.                             So it

   7     doesn't pertain to any particular states.

   8                    MR. BOPP:         Then you're asking about all

   9     states or every country in the world, and that

 10      goes beyond the court's order limiting your

 11      questions to six states.                  So I instruct him not to

 12      answer.

 13                     MR. SHELLY:           Okay.       I'll limit my

 14      question to the six states.

 15                     MR. BOPP:         All right.

 16      BY MR. SHELLY:

 17             Q.      My question is, who did you speak with

 18      at True the Vote about your allegations of

 19      non-citizen voting after the 2016 election?

 20                     MR. BOPP:         Regarding the six states?

 21                     MR. SHELLY:           Regarding the six states.

 22                     MR. BOPP:         Thank you.           All right.



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                                                                            Page 39
   1                    THE WITNESS:            What's the question?           I'm

   2     sorry.

   3     BY MR. SHELLY:

   4            Q.      In your November 2016 tweet, you

   5     tweeted --

   6            A.      I'm sorry.          I don't see that I wrote

   7     those tweets.          There's some misinformation in

   8     there, and I don't -- I don't recall those exact

   9     words, and I'm not certain that I actually tweeted

 10      them.

 11             Q.      Did you speak with anyone at True the

 12      Vote about non-citizen voting in the six target

 13      states after the November 2016 election?

 14             A.      Not specifically the six states.

 15             Q.      Did you speak with True the Vote about

 16      analysis that would have included those six

 17      states?

 18             A.      You need to clarify the question.                  I

 19      mean, I don't know whether you're talking about

 20      before or after.            I mean, you're -- I just can't

 21      answer a question that I don't understand.

 22             Q.      Did you speak to True the Vote in



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                                                                            Page 40
   1     November 2016 about non-citizen voting?

   2            A.      When?

   3            Q.      In November 2016.

   4            A.      Probably not.

   5            Q.      Did you discuss initiating legal action

   6     with True the Vote related to non-citizen voting

   7     in the 2016 election?

   8            A.      At some point post November probably,

   9     but not in November.

 10             Q.      Who did you discuss this with at True

 11      the Vote?

 12             A.      I don't recall specifically.

 13             Q.      Did you or True the Vote ever initiate

 14      legal action related to your findings?

 15             A.      No.

 16             Q.      Why not?

 17             A.      Because we were threatened and my family

 18      was threatened and we decided that it just wasn't

 19      appropriate to take action and put us in further

 20      danger.

 21             Q.      Okay.

 22                     MR. SHELLY:           Mr. White, can you pull up



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                                                                                    Page 41
   1     Exhibit R.

   2                    (Phillips Deposition Exhibit 4 was

   3     marked for identification and attached to the

   4     transcript.)

   5     BY MR. SHELLY:

   6            Q.      Mr. Phillips, did you conduct an

   7     interview with CNN in January 2017 about

   8     allegations of non-citizen voting in the 2016

   9     election?

 10             A.      Yes.

 11                     MR. SHELLY:           Can we go to page 10.

 12      Great.

 13      BY MR. SHELLY:

 14             Q.      This is the third paragraph down

 15      starting with "Obviously."                    Reading ahead a few

 16      sentences, you say, "When we complete this

 17      analysis, we're going [to] lay it out to the

 18      public.      We're going to lay out our methodologies.

 19      We're going to lay out our hypothesis.                            We're

 20      going to lay out our outputs.                      We're going to lay

 21      out the raw data for everyone to see."

 22                     Did I read that correctly?



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                                                                             Page 42
   1            A.      Yes, but I don't recall the exact words.

   2     You read what's on the screen.

   3            Q.      Okay.      And do you agree that this was in

   4     the context of analysis of non-citizen voting in

   5     the 2016 election?

   6            A.      I don't recall --

   7                    MR. BOPP:         I object.           The question goes

   8     beyond the limit of the six states and, therefore,

   9     you're violating the court's order, and I instruct

 10      him not to answer.

 11                     MR. SHELLY:           This is an interview that

 12      he gave with CNN.             I'm not asking about Oregon or

 13      any state that's not among the six states.                        I'm

 14      just asking him about what he told CNN related to

 15      the 2016 election.

 16                     MR. BOPP:         I've made my objection to

 17      your question.

 18                     MR. SHELLY:           And I understand you're

 19      instructing him not to answer in his 30(b)(6) or

 20      his individual capacity?

 21                     MR. BOPP:         I did instruct him not to

 22      answer because your --



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                                                                              Page 43
   1                    MR. SHELLY:           Okay.       I just want to make

   2     sure that I heard correctly.                     I will continue with

   3     my questions.

   4     BY MR. SHELLY:

   5            Q.      When did you complete this analysis,

   6     Mr. Phillips?

   7            A.      I don't recall.

   8                    MR. BOPP:         Same --

   9                    Gregg, you need to pause for just a

 10      second so I can enter -- because, you know, half

 11      of his questions are completely in violation of

 12      the court order, so I need to be able to interject

 13      with an objection.

 14                     So I object.            Your question goes beyond

 15      the court's limitation on your questions.                         And it

 16      needs to be the six states and also be 2012

 17      forward.       I instruct him to not answer.

 18      BY MR. SHELLY:

 19             Q.      And what did you find when you completed

 20      your analysis?

 21                     MR. BOPP:         Same objection and same

 22      instruction.



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                                                                                    Page 44
   1     BY MR. SHELLY:

   2            Q.      Did you ever release your methodology?

   3                    MR. BOPP:         Same objection.                  Same

   4     instruction.

   5     BY MR. SHELLY:

   6            Q.      Did you ever release your raw data?

   7                    MR. BOPP:         Same objection.                  Same

   8     instruction.

   9     BY MR. SHELLY:

 10             Q.      Do you plan to release your analysis,

 11      methodology or raw data?

 12                     MR. BOPP:         Same objection.                  Same

 13      instruction.

 14      BY MR. SHELLY:

 15             Q.      Did any independent third party ever

 16      confirm your allegations related to the 2016

 17      election?

 18                     MR. BOPP:         Same objection.                  Same

 19      instruction.

 20                     MR. SHELLY:           You can take this down,

 21      Mr. White.

 22                     THE VIDEOGRAPHER:               My apologies.             What?



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                                                                             Page 45
   1                    MR. SHELLY:           I'm all done with this

   2     exhibit.       You can take it down.                  Thank you.

   3                    THE VIDEOGRAPHER:               Okay.

   4     BY MR. SHELLY:

   5            Q.      Mr. Phillips, what do you do for a

   6     living now?

   7            A.      I own a technology company.

   8            Q.      Is that OpSec?

   9            A.      No.

 10             Q.      What's the name of the company?

 11             A.      CoverMe Services.

 12             Q.      Did you found OpSec?

 13             A.      Yes.

 14             Q.      Are you the managing partner at OpSec?

 15             A.      Yes.

 16             Q.      And these are positions that you

 17      continue to hold today?

 18             A.      Yes.

 19             Q.      Okay.      Just to clean up the previous

 20      section about the 2016, Mr. Phillips, can you just

 21      confirm that you intend to follow your attorney's

 22      instruction not to answer?



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                                                                              Page 46
   1            A.      Yes, I intend to follow my attorney's

   2     instructions.

   3            Q.      Thank you.

   4                    What services does OpSec perform?

   5            A.      Research, election intelligence

   6     gathering, some operational activities.

   7            Q.      And what kinds of operational

   8     activities?

   9            A.      It depends on the situation.

 10             Q.      I think you told me that OpSec was

 11      founded in 2020.

 12                     Do you remember when in 2020 it was

 13      founded?

 14             A.      Formally founded in 2020, yes.

 15             Q.      Was that -- do you know what part of the

 16      year?

 17             A.      I don't.

 18             Q.      Before the fall elections?

 19             A.      Yes.

 20             Q.      How many employees does OpSec have?

 21             A.      No legitimate employee.                    No full-time

 22      employees beyond me.               We hire contractors.



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                                                                              Page 47
   1            Q.      How many contractors?

   2            A.      We've had dozens.

   3            Q.      And what formal training do these

   4     contractors have in data analysis?

   5            A.      It depends on the project.

   6            Q.      How many clients does OpSec have?

   7            A.      Half a dozen.

   8            Q.      Are they all related to politics and

   9     campaigns?

 10             A.      No.

 11             Q.      How many of them are related to politics

 12      and campaigns?

 13             A.      I don't know.

 14             Q.      When did you first discuss having OpSec

 15      perform work for True the Vote?

 16             A.      I don't recall.              The fall of 2020.

 17             Q.      So soon after OpSec was formed?

 18             A.      Yes.

 19             Q.      Had you discussed OpSec partnering with

 20      True the Vote before it was formally created?

 21                     MR. BOPP:         I object to the question.

 22      You're not limiting it to the six states.                         Your



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                                                                               Page 48
   1     question does not limit the matter.                          The question

   2     is not limited to the six states once again.                          And

   3     so I instruct him not to answer.

   4     BY MR. SHELLY:

   5            Q.      Has OpSec done any work with True the

   6     Vote related to Wisconsin?

   7            A.      Yes.

   8            Q.      Can you describe that work?

   9            A.      No.

 10             Q.      Why not?

 11             A.      Because we didn't start doing it until

 12      after -- until 2021.

 13                     MR. BOPP:         And I object to the question,

 14      that it asks for information regarding 2021.

 15      BY MR. SHELLY:

 16             Q.      Okay.      I'll repeat the same question in

 17      individual capacity.

 18             A.      What's the question?

 19             Q.      Have you performed any work with True

 20      the Vote related to Wisconsin?

 21             A.      Yes.

 22                     MR. BOPP:         And I -- I object because it



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                                                                               Page 49
   1     goes beyond -- because you're not confining it to

   2     2012 through the 2020 election.

   3                    MR. SHELLY:           Do you instruct him not to

   4     answer?

   5                    MR. BOPP:         Yeah, I do.

   6     BY MR. SHELLY:

   7            Q.      Have you performed any work with True

   8     the Vote in Michigan since 2012?

   9                    MR. BOPP:         The same objection.              It needs

 10      to be confined to 2020 -- through 2020.

 11      BY MR. SHELLY:

 12             Q.      Have you performed any work with True

 13      the Vote in Michigan from 2012 to 2020?

 14             A.      No.

 15             Q.      Have you performed any work with True

 16      the Vote in Pennsylvania from 2012 to 2020?

 17             A.      No.

 18             Q.      Have you performed any work with True

 19      the Vote in Ohio from 2012 to 2020?

 20             A.      No.

 21             Q.      Have you performed any work with True

 22      the Vote in Texas from 2012 to 2020?



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                                                                            Page 50
   1            A.      No.

   2            Q.      But fair to say you have done work with

   3     True the Vote in Georgia between 2012 and 2020?

   4            A.      Yes.

   5            Q.      And when did you first discuss doing

   6     work in Georgia with True the Vote?

   7            A.      I don't recall the specific day.

   8            Q.      Was it before OpSec was founded in the

   9     fall of 2020?

 10             A.      I don't recall.

 11             Q.      Did you perform any work for True the

 12      Vote in Georgia before the November general

 13      election?

 14             A.      November what year?

 15             Q.      2020.      Sorry.

 16                     THE WITNESS:            Jim, I need to talk to you

 17      about how to answer that.                   I'm not sure --

 18      BY MR. SHELLY:

 19             Q.      I'm going to instruct you to answer the

 20      question.

 21                     MR. BOPP:         We will click off both our

 22      video and audio and I will consult with my client.



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                                                                               Page 51
   1                    THE VIDEOGRAPHER:               Counsel, do you want

   2     to go off the record?                Mr. Shelly?

   3                    MR. SHELLY:           Yes.

   4                    THE VIDEOGRAPHER:               Did you want to go

   5     off the record?

   6                    MR. SHELLY:           Sure.

   7                    THE VIDEOGRAPHER:               The time is

   8     11:05 a.m.        We are now off the record.

   9                    (Pause from the record.)

 10                     THE VIDEOGRAPHER:               Okay.        The time is

 11      11:06 a.m.        We are now on the record.

 12                     MR. SHELLY:           Mr. Goldstein, can you read

 13      back my last question.

 14                     (Record read.)

 15      BY MR. SHELLY:

 16             Q.      This was 2020.

 17             A.      We ran a nationwide election integrity

 18      hotline on behalf of True the Vote.                          And we may

 19      have received some calls to the hotline from

 20      Georgia.       But specific work in Georgia, no.

 21             Q.      What was your role with the hotline?

 22             A.      We established it and operated it, hired



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                                                                              Page 52
   1     the contractors to run it.

   2            Q.      Did you or anyone at OpSec field calls?

   3            A.      No.     We had a contractor.

   4            Q.      Okay.      And when the contractors fielded

   5     the calls, what were they instructed to do with

   6     that information?

   7            A.      It depended on the information.                    I mean,

   8     most of it was people just wanting to talk about

   9     what was going on and they were frustrated.                        And

 10      they were instructed to talk to them and that was

 11      it.

 12             Q.      Okay.

 13                     MR. SHELLY:           This may have been jumbled.

 14      I think there was a little bit of cross talk

 15      before the recent break, but just for the clean

 16      record, I want to repeat that I objected to going

 17      off the record while the question was still

 18      pending.

 19      BY MR. SHELLY:

 20             Q.      What instructions did you give to

 21      contractors related to the hotline?

 22             A.      I don't recall.



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                                                                             Page 53
   1            Q.      Did the contractors provide information

   2     about the calls they received to you?

   3            A.      Not to me directly, no.

   4            Q.      Who did they provide the information to?

   5            A.      I think probably to True the Vote.

   6            Q.      Okay.      What was OpSec paid for its work

   7     related to the hotline?

   8            A.      I don't recall.

   9            Q.      Who gave you the instructions related to

 10      the hotline?

 11             A.      I don't understand the question.                   How to

 12      run it?      I don't know what you mean.

 13             Q.      My understanding is that you created the

 14      hotline, you set it up and hired the contractors.

 15      I'm asking who that request came from.

 16             A.      Me.

 17             Q.      Okay.      And my understanding is you did

 18      this in conjunction with True the Vote?

 19             A.      Yes.

 20             Q.      But the hotline was your idea, not

 21      someone at True the Vote's?

 22             A.      I don't recall whose idea it was.



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                                                                                  Page 54
   1            Q.      When did you first discuss generating

   2     lists of registered Georgia voters to be

   3     challenged for change of residency?                          And I'll

   4     refer to these lists as "challenge lists" for

   5     simplicity.

   6            A.      Can you repeat your question.

   7                    MR. BOPP:         I object unless it's limited

   8     to one of the six states and a particular

   9     election.

 10                     MR. SHELLY:           So my question referenced

 11      Georgia specifically, but I will further clarify

 12      that I am referring to the challenge program that

 13      occurred in December -- in between the general and

 14      runoff elections in Georgia spanning from end of

 15      2020 to beginning of 2021.

 16                     MR. BOPP:         Okay.

 17      BY MR. SHELLY:

 18             Q.      My question is, when did you first

 19      discuss generating lists of registered Georgia

 20      voters to be challenged for change of residency?

 21             A.      Approximately the beginning of December.

 22             Q.      And whose idea was that?



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                                                                                 Page 55
   1            A.      I don't recall specifically.                       Possibly

   2     mine.

   3            Q.      Who did you discuss it with?

   4            A.      Mrs. Engelbrecht.

   5            Q.      Anybody else?

   6            A.      When?      I'm sorry.           You're being a little

   7     vague.

   8            Q.      My understanding is that possibly you

   9     came up with this idea in December 2020, and I'm

 10      asking who you shared this idea with.

 11             A.      And I said Mrs. Engelbrecht.

 12             Q.      My question was, anybody else?

 13             A.      When?      There were subsequent

 14      conversations, but are you talking about in its

 15      infancy?

 16             Q.      Yes.

 17             A.      You have to be more specific.

 18             Q.      In the infancy, was anyone else

 19      participating in the conversations you had with

 20      Ms. Engelbrecht?

 21             A.      No.

 22             Q.      What was her response -- well, what did



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                                                                            Page 56
   1     you propose to do to Ms. Engelbrecht in

   2     December 2020?

   3            A.      I don't recall making a proposal.                  I

   4     recall discussing the generalities of a section of

   5     the Georgia code that allowed citizens, voters to

   6     challenge other voters in their counties and

   7     municipality, but I don't recall the specifics of

   8     it.

   9            Q.      How did you become familiar with that

 10      section of the Georgia code?

 11             A.      Reading it.

 12             Q.      Had you heard about that section from

 13      anybody else?

 14             A.      I'm familiar with challenge laws in most

 15      states.

 16             Q.      All right.          How did you decide on the

 17      fee that OpSec would be paid for work on this

 18      challenge program?

 19             A.      I don't recall.

 20             Q.      How much were you paid?

 21             A.      I don't recall specifically about this.

 22      We were doing a number of projects.



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                                                                                   Page 57
   1                    MR. SHELLY:           Mr. White, can you pull up

   2     Exhibit N, as in Nancy.

   3                    (Phillips Deposition Exhibit 5 was

   4     marked for identification and attached to the

   5     transcript.)

   6     BY MR. SHELLY:

   7            Q.      Do you recognize this document,

   8     Mr. Phillips?

   9            A.      It looks like an invoice, yeah.

 10             Q.      Yes.

 11                     I believe this is an invoice from OpSec

 12      to True the Vote for $400,000.                       And it reflects

 13      that you had been paid the entire amount by

 14      December 7th, 2020.

 15                     Does that look right to you?

 16             A.      I don't recall the specifics of the

 17      payments, but that's what it says.

 18             Q.      Does this invoice cover your work

 19      generating challenge lists?

 20             A.      This goes way beyond that.                         There's a

 21      lot more to this than that.

 22             Q.      Okay.      But it includes that and goes



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                                                                                Page 58
   1     beyond it; is that right?

   2            A.      It might.         I don't know.              It doesn't

   3     seem as specific as it might have been.                           I don't

   4     know.

   5            Q.      Okay.      Looking under the column titled

   6     "Description," can you explain to me what -- what

   7     is "Eyes on Georgia"?

   8            A.      It was an internal working name for our

   9     broad work in Georgia.

 10             Q.      And what-all work did that include?

 11             A.      Data acquisition, analysis, preparation

 12      of lists, supporting True the Vote in their work,

 13      ETL.

 14             Q.      What is "ETL"?

 15             A.      Extract, transfer and load.

 16             Q.      And would that have been related to the

 17      challenge lists or were you doing other

 18      extractions, transfers and loads?

 19             A.      We were doing many others.

 20             Q.      And what is another reason you were

 21      doing that for, in addition to the challenge

 22      lists?



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                                                                            Page 59
   1            A.      Other research.

   2            Q.      What kinds of research?

   3                    MR. BOPP:         I object to the question.            It

   4     goes beyond the scope of the subject matter and --

   5     but I'll let him answer.

   6                    THE WITNESS:            It notes some of it down

   7     near the bottom, where it says "Analysis –

   8     identity/residency analysis, time-based analysis,

   9     Georgia code analysis, [and] litigation support."

 10      BY MR. SHELLY:

 11             Q.      So identity/residency analysis, I

 12      understand that that was related to the challenge

 13      program, but are you suggesting you did

 14      identity/residency analysis that was not related

 15      to a challenge program?

 16             A.      That's a false assumption.

 17             Q.      My question is, did you do identity and

 18      residency analysis unrelated to the challenge

 19      program?

 20             A.      Yes.

 21             Q.      Can you describe that for me?

 22             A.      No.



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                                                                            Page 60
   1            Q.      Why not?

   2            A.      Because it was a nationwide project we

   3     were working on.

   4            Q.      Did that project include work in Texas,

   5     Ohio, Pennsylvania, Michigan or Wisconsin?

   6            A.      I don't recall.

   7            Q.      Did you do any identity or residency

   8     analysis in Georgia unrelated to the challenge

   9     program?

 10             A.      Probably, yes.

 11             Q.      And what would that have been related

 12      to?

 13             A.      I don't -- I don't recall specifics.

 14             Q.      So just to be clear, you recall that it

 15      was not related to the challenge program, but you

 16      do not recall what it was related to?

 17             A.      Right.

 18             Q.      Okay.      How about the time-based

 19      analysis; can you describe the scope of that work

 20      in Georgia?

 21             A.      It had nothing to do with the work we

 22      were doing.



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                                                                            Page 61
   1            Q.      And what did it have to do with?

   2            A.      We did geospatial analysis as a company

   3     and it was related to that.

   4            Q.      And what were you analyzing?

   5            A.      We were developing -- we weren't

   6     analyzing anything at the time.                       We were working

   7     on the development of a process.

   8            Q.      What was the process?

   9                    MR. BOPP:         I object.           The question is

 10      going beyond the six states --

 11                     MR. SHELLY:           My question here is just

 12      about Georgia.

 13                     MR. BOPP:         Okay.        Fair enough.

 14                     THE WITNESS:            Nothing in 2020.

 15      BY MR. SHELLY:

 16             Q.      I just want to make sure I'm reading

 17      this invoice right.

 18                     In December 2020, you invoiced True the

 19      Vote for a project called Eyes on Georgia that

 20      included time-based analysis --

 21             A.      That's not true.

 22             Q.      Can you clarify what I got wrong?



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                                                                                Page 62
   1            A.      Yeah.      Read the invoice.                 Eyes on

   2     Georgia was the top part and analysis was the

   3     secondary piece.

   4            Q.      Okay.

   5            A.      You're conflating the two.

   6            Q.      So the section from "Ground Data"

   7     through "ETL" was in Georgia and the section

   8     "Analysis" through "Litigation Support" was

   9     nationwide?

 10             A.      Partly.

 11             Q.      Am I understanding that correctly?

 12             A.      Partly, but it also didn't have

 13      necessarily anything to do with the Eyes on

 14      Georgia project.

 15             Q.      Okay.      Then let me ask about the Eyes on

 16      Georgia project.

 17                     What ground data did you collect?

 18                     MR. BOPP:         I'm sorry.           Can you repeat

 19      the question.

 20      BY MR. SHELLY:

 21             Q.      My question was, what ground data did

 22      you collect?         But it was in the context -- I can



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                                                                                  Page 63
   1     spell it out -- within the Eyes on Georgia project

   2     in 2020.

   3                    MR. BOPP:         Okay.        I object.           It goes

   4     beyond the scope of the subject matter which you

   5     limited to data analysis and data linkage and

   6     voter registration research.                     You did not specify

   7     data collection and therefore I object to the

   8     question and instruct him not to answer.                            It's

   9     going beyond the scope of the subject matter.

 10                     MR. SHELLY:           Topic number 8 asks about

 11      OpSec's coordination with True the Vote to conduct

 12      voter and election-related activities in any of

 13      the targeted states from 2022 onwards.                            And so if

 14      the answer is that the ground data was not

 15      election-related activity, I'll move on.                            So let

 16      me just ask that.

 17      BY MR. SHELLY:

 18             Q.      Is the ground data related to elections

 19      in Georgia?

 20                     MR. BOPP:         Your question goes beyond the

 21      scope of number 8 also because your -- that is

 22      limited to communication and coordination with



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                                                                            Page 64
   1     these specified people.

   2                    MR. SHELLY:           This is an invoice to True

   3     the Vote.       And so I think the natural assumption,

   4     if this is work that OpSec was doing for True the

   5     Vote, then that's coordination.

   6                    MR. BOPP:         You can answer if you can.

   7                    THE WITNESS:            You're making a false

   8     assumption.         "Ground" is the name of our database.

   9     BY MR. SHELLY:

 10             Q.      Okay.      Then am I reading correctly that

 11      what comes below "Ground Data," that was data that

 12      you housed in the Ground database?

 13             A.      Not necessarily.

 14             Q.      Okay.      Can you explain for me how this

 15      section from "Ground Data" through "ETL" applies

 16      to work you were performing in Georgia in 2020?

 17             A.      You're going to have to be more

 18      specific.       That's a non-answerable question.

 19             Q.      I'm trying to get a sense of what work

 20      you performed for True the Vote in Georgia in

 21      2020.     This invoice lists several activities, and

 22      I'm asking you to explain what these activities



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                                                                                Page 65
   1     were.

   2                    MR. BOPP:         Go ahead and ask a question

   3     if you have a question.                 He's only required to

   4     answer your questions, not have you state

   5     generally what you'd like to know and then require

   6     him to just, what, spill his guts?                          No.   You have

   7     to ask a question.             And then he's -- and then

   8     you're entitled to an answer to the question

   9     unless it's objectionable.

 10      BY MR. SHELLY:

 11             Q.      Can you explain what "Ground Data"

 12      refers to?

 13             A.      Data acquisition.

 14             Q.      And what data did you acquire?

 15                     MR. BOPP:         I object.           That goes beyond

 16      the scope of the specification of the subject

 17      matter, and I instruct him not to answer.

 18      BY MR. SHELLY:

 19             Q.      Did you acquire election-related data?

 20                     MR. BOPP:         I object to the question as

 21      going -- same objection and same instruction.

 22                     MR. SHELLY:           Can you clarify for me how



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                                                                            Page 66
   1     you think -- which part of the topic you think

   2     that doesn't relate to?

   3                    MR. BOPP:         Are you asking me?

   4                    MR. SHELLY:           Yes.      I'm trying to

   5     understand your objection, if there's a way the

   6     question needs to be rephrased or if you just

   7     don't want me asking about Ground data in Georgia

   8     for the 2020 election, the work that he did for

   9     True the Vote.

 10                     MR. BOPP:         The way this works, I don't

 11      have to answer your questions.                       And I've made my

 12      objection to your question and I stand by it.

 13                     MR. SHELLY:           Your objection is it's

 14      outside of the scope of the 30(b)(6) topics?

 15                     MR. BOPP:         Your question was, yes.

 16                     MR. SHELLY:           Okay.

 17      BY MR. SHELLY:

 18             Q.      Mr. Phillips, my question for you is,

 19      were you acquiring election data -- well, first

 20      let me just preface.

 21                     The questions that I'm asking about this

 22      topic underneath "Eyes on Georgia," all my



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                                                                               Page 67
   1     questions are about in Georgia for the 2020

   2     election.

   3                    And so my question is, were you

   4     acquiring election data?

   5                    MR. BOPP:         And my objection is that goes

   6     beyond the scope of the subject matters.                          Data

   7     acquisition is not specified in your subject

   8     matter notice, so I instruct him not to answer.

   9     BY MR. SHELLY:

 10             Q.      Can you tell me what "Political Lists"

 11      refers to in the context of your work for True the

 12      Vote in Georgia at the 2020 election?

 13             A.      Again, data acquisition.

 14             Q.      And was that election-related data?

 15                     MR. BOPP:         Go ahead.

 16      BY MR. SHELLY:

 17             Q.      Are you thinking of your answer,

 18      Mr. Phillips?

 19             A.      No.     I didn't know you asked me a

 20      question.       I'm sorry.

 21             Q.      My question was -- you told me that the

 22      "Political Lists" in this invoice refers to data



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                                                                            Page 68
   1     acquisition.

   2                    My question is if that was

   3     election-related.

   4            A.      What do you mean, election-related?

   5            Q.      I simply mean was the data related to an

   6     election or election activities?

   7                    MR. BOPP:         I object to your -- your

   8     asking details about data acquisition that goes

   9     beyond the scope of your subject matter

 10      designation, and I instruct him not to answer.

 11      BY MR. SHELLY:

 12             Q.      What does "GA Updates" refer to in the

 13      context of work you provided for True the Vote in

 14      Georgia related to the 2020 election?

 15             A.      Same answer.

 16             Q.      And what's that answer?

 17             A.      Data acquisition.

 18             Q.      And what data were you acquiring?

 19                     MR. BOPP:         I object.           It goes beyond the

 20      specification of the subject matter and instruct

 21      him not to answer.

 22



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                                                                                   Page 69
   1     BY MR. SHELLY:

   2            Q.      What does "Cell based" refer to in the

   3     context of your work for True the Vote in Georgia

   4     for the 2020 election?

   5            A.      Data acquisition.

   6            Q.      And what data were you acquiring?

   7                    MR. BOPP:         Same objection.                  Same

   8     instruction.

   9     BY MR. SHELLY:

 10             Q.      And what did you do with that data?

 11                     MR. BOPP:         Same objection -- oh, no.                   Go

 12      ahead.

 13                     THE WITNESS:            What did we do with it?

 14      BY MR. SHELLY:

 15             Q.      Yes.

 16             A.      We used it for analysis and research.

 17             Q.      What did you analyze?

 18             A.      I don't recall a specific topic.

 19             Q.      Can you tell me generally what you

 20      recall?

 21             A.      No.

 22             Q.      Why not?



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                                                                                     Page 70
   1            A.      Because you keep asking the same

   2     question, but these are about data acquisition and

   3     research.       If you look down below, you'll see some

   4     of the things that we do with the data and

   5     analysis.

   6            Q.      Okay.      Can you describe what Ad based"

   7     means?

   8            A.      Data acquisition.

   9            Q.      And what data did you acquire?

 10                     MR. BOPP:         Same objection.                  Same

 11      instruction.

 12      BY MR. SHELLY:

 13             Q.      What did you do with this data?

 14             A.      Analyzed it.

 15             Q.      What did you analyze it for?

 16             A.      I don't even understand your questions.

 17      You're going to have to be more specific.                                What

 18      did I analyze it for?                That's not even a sentence.

 19             Q.      You told me that "Ad based" refers to

 20      data acquisition.             You said you analyzed that

 21      data.

 22                     I'm asking you, what was the purpose of



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                                                                            Page 71
   1     that analysis?

   2            A.      Because that's what we were hired by

   3     True the Vote to do.

   4            Q.      And what did that analysis show?

   5            A.      It depends on the topic.

   6            Q.      What topics were you asked to analyze?

   7            A.      I don't have a specific list.

   8            Q.      Can you give me some examples?

   9            A.      Ineligible voters.

 10             Q.      And what did you find?

 11             A.      What did I find about what?

 12             Q.      When you analyzed the data.

 13             A.      We found that there were ineligible

 14      voters on the voter roll.                   Isn't that why --

 15             Q.      In addition to the challenge lists --

 16             A.      I didn't say --

 17             Q.      You didn't say what?

 18                     MR. BOPP:         I'm sorry, Jacob.

 19                     Gregg, you need to wait until the end of

 20      the question before you answer, please.

 21      BY MR. SHELLY:

 22             Q.      Did you use that analysis for your --



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                                                                            Page 72
   1     for the challenge lists?

   2            A.      We used some of this analysis for the

   3     challenge lists, yes.

   4            Q.      Did you use the analysis for anything

   5     else?

   6            A.      Yes.

   7            Q.      What else did you use it for?

   8            A.      We used it for a lot of things and we're

   9     still using it.           We have active analysis happening

 10      today.

 11             Q.      Can you give me some examples of what

 12      else you used it for and are using it for?

 13                     MR. BOPP:         I object.           That goes beyond

 14      the scope of the time frame, which is 2020, and

 15      goes beyond the scope of the -- that's sufficient.

 16                     MR. SHELLY:           Are you instructing him to

 17      not answer?

 18                     MR. BOPP:         No.

 19      BY MR. SHELLY:

 20             Q.      You may answer, Mr. Phillips.

 21             A.      I don't recall the question.

 22                     MR. SHELLY:           Can you read back the last



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                                                                               Page 73
   1     question.

   2                    (Record read.)

   3                    THE WITNESS:            Past 2020?

   4     BY MR. SHELLY:

   5            Q.      Yes.

   6                    MR. BOPP:         Okay.        I'll instruct him not

   7     to answer.        That goes beyond the scope of the

   8     questions you're permitted to ask.

   9                    MR. SHELLY:           I do not understand the --

 10      if your objection is related to the time span, I

 11      do not understand the court's order to be limited

 12      to 2020.       It says from 2012 and onwards.

 13                     MR. BOPP:         Do you really think that he

 14      meant until hell freezes over, you know?                          Surely

 15      not.     And because this case was about 2020 and the

 16      November election -- I mean, the runoff, so...

 17                     MR. SHELLY:           Yes, I do understand that

 18      order to include up to the present.

 19                     MR. BOPP:         I don't understand it that

 20      way, so I made my objection.

 21                     MR. SHELLY:           Do I recall that you did

 22      not instruct him not to answer this question?



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                                                                             Page 74
   1                    MR. BOPP:         I instruct him not to answer

   2     the question.

   3     BY MR. SHELLY:

   4            Q.      Mr. Phillips, how many times -- how many

   5     other times has OpSec submitted an invoice for

   6     400,000 or more to a client over the past two

   7     years?

   8                    MR. BOPP:         I object.           That is totally

   9     irrelevant, would invade his businesses and his

 10      own personal financial dealings with other people

 11      unrelated to this situation.                     And I think

 12      financial information like that is confidential,

 13      and so I'll instruct him not to answer.

 14                     MR. SHELLY:           We do have a protective

 15      order in this case, and so I would recognize that

 16      the protective order would apply to that

 17      information.         Does that change your objection?

 18                     MR. BOPP:         It doesn't affect the

 19      relevance of this.             And, you know, you're not

 20      entitled to, in my opinion, ask him questions

 21      about other clients, which you are asking.                        You

 22      didn't say from True the Vote or -- you said from



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                                                                            Page 75
   1     anybody.

   2                    MR. SHELLY:           I think that I am trying to

   3     put his work with True the Vote in the context of

   4     what OpSec does.            So I'm trying to find out if

   5     this work for True the Vote was ordinarily within

   6     the course of what OpSec did or if this was

   7     unusual in some way.

   8                    MR. BOPP:         Well, that's fine and may be

   9     your intent, but you've asked a question that's

 10      too broad, in my opinion.                   So if you focus your

 11      question, you can get an answer to that.

 12      BY MR. SHELLY:

 13             Q.      Mr. Phillips, did -- in 2020, did -- was

 14      True the Vote OpSec's highest-paying client?

 15             A.      I doubt it, but I couldn't tell you

 16      exactly.

 17                     MR. SHELLY:           We can take this exhibit

 18      down, Mr. White.            Mr. White, you can take this

 19      exhibit down.

 20      BY MR. SHELLY:

 21             Q.      Mr. Phillips, did you meet with

 22      representatives from the Georgia Secretary of



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                                                                            Page 76
   1     State's Office regarding the 2020 challenge

   2     program in Georgia?

   3            A.      No.

   4                    MR. SHELLY:           Can we pull up Exhibit C.

   5                    (Phillips Deposition Exhibit 6 was

   6     marked for identification and attached to the

   7     transcript.)

   8                    MR. SHELLY:           Can you scroll down.

   9     BY MR. SHELLY:

 10             Q.      This is OpSec's amended responses to

 11      plaintiffs' request for production.

 12                     Are you familiar with these responses?

 13      And there's several pages if you need Mr. White to

 14      scroll through.

 15             A.      Yeah, I'm familiar with them.

 16             Q.      Okay.      Did you write these yourself?

 17             A.      Probably, yeah.

 18             Q.      How did you search for and identify

 19      documents responsive to plaintiffs' discovery

 20      requests?

 21             A.      Searching my computer, my e-mail, that

 22      kind of thing.



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                                                                             Page 77
   1            Q.      Okay.      Let me make sure I direct you to

   2     the right page.

   3                    Can you go to page 12.                   You see number 2

   4     at the bottom, "OpSec's representatives met with

   5     the Georgia Secretary of State's representatives

   6     to confirm the accuracy of its methodology"?

   7                    Do I understand you to say -- excuse me?

   8                    MR. BOPP:         You have to wait, Gregg.            You

   9     have to wait for a question.

 10      BY MR. SHELLY:

 11             Q.      Did you meet with the Secretary of

 12      State's representatives?

 13             A.      No.

 14             Q.      Which OpSec representatives did?

 15             A.      Brian Robinson.

 16             Q.      Did I catch the first name was Wayne?

 17             A.      Brian.

 18             Q.      Brian.

 19                     And what was his role with OpSec?

 20             A.      He was a contractor to help with

 21      communications.

 22             Q.      Did you give him instructions related to



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                                                                            Page 78
   1     this meeting?

   2            A.      No.

   3            Q.      He met with the Secretary of State on

   4     his own initiative?

   5            A.      No, he went with Catherine Engelbrecht.

   6            Q.      Did OpSec initiate that meeting or did

   7     Ms. Engelbrecht or somebody else?

   8            A.      I don't recall.

   9            Q.      When did this meeting occur?

 10             A.      I don't recall.

 11             Q.      Do you think it would be fair to say it

 12      was after the November 2020 election?

 13             A.      Yes.

 14             Q.      And would it have been before you

 15      produced the challenge lists?

 16             A.      Likely, yes.

 17             Q.      And who are the Secretary of State's

 18      representatives?

 19             A.      I don't know.            I wasn't there.

 20             Q.      Was this an in-person meeting?

 21             A.      Yes.

 22             Q.      Where did it occur?



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                                                                            Page 79
   1            A.      I don't know.

   2            Q.      Just so I'm not making any assumptions,

   3     your understanding -- am I correct to understand

   4     that Mr. Robinson and Ms. Engelbrecht discussed

   5     the methodology of the challenge program with the

   6     Secretary of State's representatives?

   7            A.      I have no idea.

   8            Q.      Okay.      But it's my understanding that

   9     that's what you wrote for number 2 here at the

 10      bottom.

 11             A.      As I said -- I mean, that was my

 12      recollection of it, but I don't know what was

 13      said.     I wasn't in the meeting.

 14             Q.      Do you know what the Secretary of

 15      State's representatives said in response to the

 16      methodology that was described?

 17             A.      I have no idea.

 18             Q.      Did you or anyone affiliated with OpSec

 19      have any further contact with the Secretary of

 20      State's Office after this meeting?

 21             A.      No.

 22                     MR. SHELLY:           You can take this one down,



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                                                                               Page 80
   1     Mr. White.

   2     BY MR. SHELLY:

   3            Q.      Are you familiar with the procedures

   4     prescribed by the National Voter Registration Act

   5     for states to identify individuals who have

   6     changed residency and to remove them from voter

   7     registration lists?

   8            A.      Yeah.

   9            Q.      Can you describe to me your

 10      understanding of those procedures?

 11             A.      The law is pretty clear.                     What do you

 12      want?

 13             Q.      How do you understand that the NVRA

 14      permits states to identify individuals who have

 15      changed residency and remove them from the

 16      registration lists?

 17                     MR. BOPP:         I object.           His knowledge or

 18      understanding of the law is completely irrelevant.

 19                     But you may answer.

 20                     THE WITNESS:            There are proscribed

 21      rules, in essence, and states are compelled to

 22      follow those rules.



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                                                                            Page 81
   1     BY MR. SHELLY:

   2            Q.      Is it your understanding that states may

   3     not remove voters for change of residency unless

   4     they send formal notice and wait for two federal

   5     election cycles?

   6                    MR. BOPP:         I object.           His knowledge or

   7     understanding of legal requirements cannot be more

   8     irrelevant, honestly.                But he may answer if he

   9     knows.

 10                     THE WITNESS:            What was the question?

 11      BY MR. SHELLY:

 12             Q.      Is it your understanding that states may

 13      remove voters from the registration list for

 14      change of residency only after sending formal

 15      notice and waiting for two federal election

 16      cycles?

 17             A.      It's more complex than that because you

 18      have to add inactive -- the inactive portion of

 19      the rolls, but broadly that's true.

 20             Q.      And what is your understanding of why

 21      states are required to wait two federal election

 22      cycles before removing voters that they have



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                                                                              Page 82
   1     identified?

   2            A.      I don't -- what's the question?                    I'm

   3     sorry.

   4            Q.      What is your understanding of why states

   5     are required to wait two federal election cycles

   6     before removing voters that they have identified

   7     who have potentially changed residency?

   8            A.      Why?

   9            Q.      Yes.

 10             A.      Because the states' processes are so

 11      diverse and so flawed in their application, some,

 12      like Georgia, contract with companies like ERIC,

 13      others don't.          And even then, it's -- you know,

 14      it's not a perfect process and it's flawed.

 15             Q.      Is it your understanding that states can

 16      use NCOA data to identify voters who have

 17      potentially moved?

 18             A.      In part, sure.

 19             Q.      Do you have reason to believe that

 20      Georgia has failed to follow this NVRA process for

 21      identifying voters who have potentially moved and

 22      removing them from the rolls?



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                                                                            Page 83
   1            A.      Yes.

   2                    MR. BOPP:         I object.           His opinion on

   3     whether or not they follow the federal statute

   4     cannot be more irrelevant.                    But you can burn up

   5     your time on stuff like this, I guess.

   6                    Go ahead.         You can answer.

   7     BY MR. SHELLY:

   8            Q.      I understood you to answer yes, that

   9     Georgia has failed to follow the NVRA process; is

 10      that correct?

 11             A.      Yes.

 12             Q.      How do you understand your methodology

 13      to be similar to or different from the Secretary

 14      of State's methodology for list maintenance?

 15             A.      For list maintenance?                  That's --

 16             Q.      For identifying voters who -- for

 17      identifying individuals on the voter rolls who may

 18      have changed residency.

 19             A.      We don't engage in list maintenance.

 20      OpSec doesn't engage in list maintenance

 21      activities.

 22             Q.      I'm asking how your methodology compared



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                                                                            Page 84
   1     to the list maintenance that the Secretary of

   2     State does.

   3                    But specifically I'm asking you, how

   4     does your methodology, using NCOA data to identify

   5     individuals on the voter rolls who may have moved

   6     out of state, differ from your understanding of

   7     the Secretary of State's methodology for doing the

   8     same?

   9            A.      I don't know that it does differ.

 10             Q.      So why did OpSec need to perform a task

 11      that you do not understand to differ from what the

 12      Secretary of State was doing?

 13             A.      We didn't.          We weren't doing list

 14      maintenance.

 15             Q.      Were you identifying individuals on the

 16      voter rolls who you suspected of having moved out

 17      of state?

 18             A.      For the challenges, yes.

 19             Q.      Right.

 20                     And I'm asking you how your process for

 21      identifying those individuals -- how you

 22      understand that to have differed from the



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                                                                                Page 85
   1     Secretary of State's process.

   2            A.      The Secretary of State hadn't cleaned

   3     the rolls in two years.                 They hadn't executed at

   4     all.     So the difference is 100 percent.                        If you

   5     have one group that hasn't done it and you have

   6     another group that's working on identifying the

   7     folks, then that's the answer.                       It's a 100 percent

   8     difference if one party isn't executing.

   9            Q.      If the Secretary of State had undertook

 10      this analysis to identify voters who may have

 11      moved out of state, individuals on the

 12      registration lists who may have moved out of

 13      state, it's your understanding that the Secretary

 14      of State would have been able to remove those

 15      voters from the registration rolls in

 16      December 2020?

 17             A.      No.

 18             Q.      Your understanding is that the Secretary

 19      of State would not be permitted to remove those

 20      voters; am I understanding that correctly?

 21             A.      Right.

 22             Q.      And why is that?



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                                                                            Page 86
   1            A.      Because that's list maintenance, and you

   2     can't do list maintenance that close to an

   3     election.

   4            Q.      Who else are you aware of that was

   5     analyzing the Georgia voter rolls or election

   6     results after the November 2020 election?

   7            A.      I don't recall.              I mean, there were a

   8     lot of people looking at it.                     I don't know.

   9            Q.      Can you name some for me?

 10             A.      Derek Somerville.

 11             Q.      Anybody else?

 12             A.      I think he had a guy working with him

 13      named Mark Davis, but...

 14             Q.      Anybody else?

 15             A.      Not off the top of my head.

 16             Q.      Are you aware that there were others,

 17      but you can't remember their names, or you can't

 18      remember if there were others?

 19             A.      I just don't recall.

 20             Q.      You don't recall if there were others?

 21             A.      Either.

 22             Q.      Okay.      Did you meet with Mr. Somerville



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                                                                               Page 87
   1     or Mr. Davis?

   2            A.      I've never met Mr. Davis.                     I met with

   3     Mr. Somerville at some point -- a dinner sometime

   4     during December.

   5            Q.      And how were you introduced?

   6            A.      I think -- I think a gentleman named

   7     Mark Williams introduced us.

   8            Q.      And how did you meet Mark Williams?

   9            A.      I don't recall.              I lived in Georgia for

 10      a number of years and likely knew him from that

 11      time.

 12             Q.      And what was the purpose of your meeting

 13      with Mr. Somerville?

 14             A.      To see if there were some commonalities

 15      in methodology that would allow us to work with

 16      them to try to refine the list.

 17             Q.      Is there anybody else -- was this an

 18      in-person meeting with you and Mr. Somerville and

 19      Mr. Williams?

 20             A.      No.     I didn't meet them together.                 I met

 21      Mr. Williams and he gave me Mr. Somerville's name.

 22             Q.      Thank you.



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                                                                              Page 88
   1                    And you met Mr. Somerville in person in

   2     December 2020; am I understanding that correctly?

   3            A.      Yes.

   4            Q.      And was it only the two of you at this

   5     meeting?

   6            A.      No.     Mrs. Engelbrecht was there.

   7            Q.      So it sounds like you were describing

   8     one meeting in particular.

   9                    Was there more than one?

 10             A.      Not that I'm aware of.

 11             Q.      Okay.      I understood you to say you've

 12      never met Mr. Davis.

 13                     Have you ever spoken to Mr. Davis?

 14             A.      Once.

 15             Q.      And when was that -- I'm sorry.                    Let me

 16      rephrase that.

 17                     Was that meeting before or after your

 18      meeting with Mr. Somerville?

 19             A.      After.

 20             Q.      Okay.      In your meeting with

 21      Mr. Somerville and Ms. Engelbrecht, how did you

 22      describe your methodology?



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                                                                                  Page 89
   1            A.      How did we describe it?

   2            Q.      Yes.

   3            A.      I don't recall the specific words.

   4            Q.      How did Mr. Somerville describe his

   5     methodology?

   6            A.      I don't remember all of it.                        The couple

   7     things that jumped out at us that -- one was they

   8     wanted to target certain counties.                          And we didn't

   9     feel like that was appropriate, to target any

 10      county.

 11                     And the other thing that I recall from

 12      the conversation was they didn't want to include

 13      inactive voters in the challenge list.                            And our

 14      view was that we needed to challenge those

 15      inactive voters as long as we were challenging the

 16      others.

 17             Q.      Why did Mr. Somerville want to only

 18      target certain counties?

 19             A.      I don't know.

 20             Q.      My understanding is he's -- tell me if

 21      I'm misunderstanding this -- that he understood --

 22      you were describing your methodologies for



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                                                                             Page 90
   1     generating these lists, Mr. Somerville said he was

   2     only going to target certain counties, you wanted

   3     to create lists for all counties in Georgia.

   4                    Is that part correct?

   5            A.      That's what I recall, yes.

   6            Q.      Okay.      And was there an exchange of

   7     views about why lists should be made one way or

   8     another?

   9            A.      Not that I recall specifically.

 10             Q.      Do you know which counties

 11      Mr. Somerville made a list for?

 12             A.      No, sir, I don't.

 13             Q.      Why did you disagree with

 14      Mr. Somerville's methodology of not including

 15      inactive voters?

 16             A.      I'm sorry.          Not including?

 17             Q.      Not including inactive voters.

 18             A.      I'm sorry.          What's the question?           I want

 19      to be certain --

 20             Q.      My understanding is that another

 21      difference between your methodology and

 22      Mr. Somerville's was that you included inactive



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   1     voters in your lists.

   2                    And so my question is, why did you

   3     disagree with Mr. Somerville about that?

   4            A.      We just -- we felt like -- that some of

   5     the challenges -- or some -- misused word -- some

   6     of the issues that were causing people to be

   7     concerned were about inactive voters, not just the

   8     active voters.

   9            Q.      Did you discuss the possibility that

 10      including inactive voters could increase the

 11      chance that your challenge list would include

 12      people who were properly registered?

 13             A.      Were properly registered --

 14             Q.      Yes.

 15             A.      -- or improperly?               I couldn't

 16      understand.

 17             Q.      My question is that if you are

 18      increasing the magnitude of the challenge lists by

 19      including inactive voters, did you discuss the

 20      possibility that that breadth could sweep in

 21      voters who were properly registered?

 22             A.      No.



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                                                                            Page 92
   1                    MR. SHELLY:           We've been going close to

   2     two hours.        How about we take a ten-minute break

   3     here?

   4                    MR. BOPP:         All right.           It is noon and

   5     I'd prefer to eat lunch.                  But it also depends on

   6     how long you think you need.                     I mean, if we could

   7     wrap up in an hour, you know, with the permission

   8     of the recorder, court reporter and all that --

   9     but, you know, it's up to you.                       I'm just saying.

 10      Otherwise, rather than a ten-minute break, we

 11      should adjourn for lunch if we're going to go for

 12      a couple more hours.

 13                     MR. SHELLY:           Yeah.       Unfortunately at the

 14      pace we're going, I have more than an hour left.

 15      So are you proposing --

 16                     MR. BOPP:         Fair enough.

 17                     MR. SHELLY:           Thirty minutes or what

 18      would you like?

 19                     MR. BOPP:         Thirty minutes I think would

 20      be okay with me.

 21                     How about you, Gregg?

 22                     THE WITNESS:            It's fine.



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   1                    MR. SHELLY:           Okay.       Return at

   2     12:30 Eastern.

   3                    MR. BOPP:         Okay.        Great.        Thank you.

   4                    THE VIDEOGRAPHER:               The time is

   5     11:57 a.m.        We're now off the record.

   6                    (Recess from the record.)

   7                    THE VIDEOGRAPHER:               Okay.        The time is

   8     12:31 p.m.        We are now on the record.

   9     BY MR. SHELLY:

 10             Q.      Okay.      Mr. Phillips, I would like to ask

 11      you some questions now about the challenge lists

 12      that you generated in Georgia for the 2021 runoff

 13      election.

 14                     What data files did you use to generate

 15      the challenge lists?

 16             A.      The underlying data file, the state

 17      voter registration file.

 18             Q.      And presumably the NCOA list as well?

 19             A.      We used NCOA.            We used several other

 20      USPS products.          We use the CASS system, the Coding

 21      Accuracy Support System.                  We use Delivery Point

 22      Verification.          We use several different



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                                                                            Page 94
   1     components.         We also have a proprietary algorithm

   2     that we used to help verify identity.

   3            Q.      Okay.      To make sure I understood that,

   4     my understanding is that NCOA has a list of people

   5     who submit to the USPS that they want their mail

   6     to be forwarded.            There's a list of names in the

   7     voter rolls and there was the list of names who

   8     submitted NCOA requests.

   9                    I understand you used various databases,

 10      algorithms to perform the match, but am I correct

 11      that the NCOA list of individuals and the voter

 12      file list of individuals -- that those were the

 13      two lists you used?

 14             A.      No, that's an oversimplification.

 15             Q.      Okay.      Can you explain what other

 16      information you used?

 17             A.      Yes.     I just did.            We used Advanced Data

 18      Hygiene, as you guys and others have argued is the

 19      correct way to go.             We agree.           We also used other

 20      types of databases to help us -- help us verify

 21      identity as best we can.

 22             Q.      Okay.      What other lists of individuals



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   1     besides the NCOA list did you use to identify

   2     individuals who had moved?

   3            A.      There's lots of different possibilities

   4     out there, what we used specifically in the query.

   5     I mean, the algorithms that we used access Oracle

   6     queries so that we can basically consolidate all

   7     the data we need and eliminate all the data we

   8     don't need to, you know, eliminate false positives

   9     and false negatives as best we can.

 10             Q.      And what else could a person do to

 11      indicate that they had changed residency that you

 12      looked at besides sending a mail-forwarding

 13      request to the post office?

 14             A.      We look at other state data

 15      registrations.          We look at a lot of things.                 It

 16      depends on the situation.                   This one was pretty

 17      simple, but it depends on the situation.                          We could

 18      access five or six different data sources.

 19             Q.      Understood.

 20                     And I'm just asking specifically for the

 21      Georgia challenge lists that you created.

 22                     Did I understand you to --



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   1                    (Unintelligible cross-talk.)

   2            Q.      Sorry?

   3            A.      We used proprietary lists.                         I mean, we

   4     used some of the lists on the invoice you saw.                               We

   5     gather all sorts of data to help verify identity.

   6     Because if you don't verify identity, then

   7     residency is really -- you know, it has some risk

   8     in determining the residency.

   9                    So we seek to identify -- verify

 10      identity first.           And we -- I don't know who else

 11      does that, but we do it.

 12             Q.      And did I hear you correctly to say that

 13      you matched Georgia's voter registration list to

 14      voter registration rolls in other states to create

 15      the challenge lists at issue in this case?

 16             A.      Not only, but you asked me were there

 17      other data sources.              And that was one, yes.

 18             Q.      That was one you used.                   Okay.

 19                     So besides requesting their mail to be

 20      forwarded to the post office, besides registering

 21      to vote in another state, is there anything else

 22      that a registered Georgia voter could do to have



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   1     ended up on your list?

   2            A.      Sure.      You can look at all kinds of

   3     things.      You can look at tax records to see if

   4     people sold their house and moved.                          You can look

   5     at all kinds of things.

   6            Q.      I'm asking specifically, what did you

   7     look at to create --

   8            A.      Those are some of the things that we

   9     did.

 10             Q.      You looked at tax records as well?

 11             A.      In some cases, yes.

 12             Q.      Which cases did you decide to look at

 13      tax records for?

 14             A.      I don't recall specifically.

 15             Q.      Which tax records did you look at?

 16             A.      We would look at county tax records.

 17             Q.      And what are you looking at

 18      specifically, whether an individual paid taxes in

 19      the county where they're registered or something

 20      different?

 21             A.      No, to see if they moved.

 22             Q.      Okay.      Anything else that you looked at



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   1     specifically to create the Georgia challenge

   2     lists?

   3            A.      Not that I recall.

   4            Q.      Okay.      What date did you obtain a copy

   5     of Georgia's voter file to conduct the analysis to

   6     generate the challenge lists?

   7            A.      I don't recall.              It was mid December I

   8     think when the Secretary of State put out their

   9     final list for the runoffs.

 10             Q.      Is OpSec a United States Postal Service

 11      licensee?

 12             A.      No.

 13             Q.      How did you obtain the NCOA file?

 14             A.      There are a number of access points that

 15      we use to gain access.

 16             Q.      And what were those access points?

 17             A.      I don't know which one we used.

 18      TrueNCOA likely, but there are a number.

 19             Q.      How did you choose them?

 20             A.      Experience.

 21             Q.      Your previous experience with them or

 22      their previous experience doing this kind of work?



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   1            A.      I don't know what their experience is,

   2     but our previous experience working with them and

   3     others.

   4            Q.      Is OpSec CASS certified?

   5            A.      TrueNCOA is.            And if that's what we

   6     used, then they are CASS certified, yes.

   7            Q.      Okay.      And what date did TrueNCOA obtain

   8     a copy of the NCOA registry for use in the

   9     challenge lists?

 10             A.      I don't know.

 11             Q.      Do you know when must an individual have

 12      submitted an NCOA request to be included in the

 13      data you received?             In other words, what is the

 14      window that was captured by the NCOA list?

 15             A.      Well, as you're probably aware, they

 16      update their files regularly.                      So are you asking

 17      when they updated their file, TrueNCOA, if that's

 18      who we used?         I don't know the answer to that,

 19      when they updated their file.                      They update

 20      regularly.

 21             Q.      So just to clarify, so if TrueNCOA

 22      received the NCOA file on December 15th, would



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   1     that include people who submitted their NCOA

   2     request the previous January?                      Or how far back

   3     would that cover?

   4            A.      Well, it depends.               That's not quite the

   5     way it works.          What we were trying to ascertain

   6     was whether or not people still lived in the

   7     jurisdiction in which they were registered to

   8     vote.       That's it.

   9            Q.      Okay.      Am I correct to assume that the

 10      NCOA list doesn't include everyone who has moved

 11      out of -- submitted a mail-forwarding request to

 12      the post office for the past like five years?

 13      There was probably some shorter window; right?

 14             A.      Sure, but that would be a false

 15      negative, not a false positive.

 16             Q.      Okay.

 17             A.      That would be excluding someone who

 18      should have been included rather than including

 19      someone that shouldn't have been.

 20             Q.      So my question is simply, do you know

 21      what the window is that someone could have

 22      submitted that request to have been included in



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                                                                           Page 101
   1     the file that was used?

   2            A.      I don't know right off the top of my

   3     head, no.

   4            Q.      Is that something you looked into in

   5     preparation for this deposition?

   6            A.      No, just because that's not what we were

   7     doing.      You're asking about data cleanliness.                   And

   8     what we were trying to do is ascertain whether

   9     people still lived in the jurisdiction or not.

 10      And we were compelled to assist the challenging

 11      voters to give a specific reason.

 12                     And it's up to the counties to determine

 13      reasonable suspicion or probable cause or whatever

 14      it is in Georgia.             A challenger has to give a

 15      specific reason.            The specific reason is they

 16      don't live in the jurisdiction anymore.

 17             Q.      If your window for including people who

 18      submitted an NCOA request goes back in time far

 19      enough, is there a possibility that they could

 20      have moved back to Georgia, but would still be on

 21      your list because of their previous move out of

 22      state?



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   1            A.      Sure.      It's possible.

   2            Q.      But I'm understanding you're not sure

   3     how far back those requests would have been

   4     included for your lists?

   5            A.      No.     It's not relevant.

   6            Q.      Okay.

   7                    MR. SHELLY:           Can we pull up Exhibit S.

   8                    (Phillips Deposition Exhibit 7 was

   9     marked for identification and attached to the

 10      transcript.)

 11                     MR. SHELLY:           You can scroll down a page

 12      or two.

 13      BY MR. SHELLY:

 14             Q.      So this is an NCOALink processing

 15      summary report that was produced by Mr. Davis, who

 16      attempted to match the Georgia voter file with

 17      NCOA data.

 18                     Take a look at this and tell me, was

 19      anything like this produced during your matching

 20      process?

 21             A.      We don't use this particular tool.                  And

 22      no.    It's irrelevant.



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                                                                           Page 103
   1            Q.      Okay.

   2                    MR. SHELLY:           Can you go to bottom of

   3     page 5 of this document, Mr. White.

   4     BY MR. SHELLY:

   5            Q.      Do you see here, at the bottom left

   6     corner, there are some counts for insufficient

   7     data, address not found, multiple responses?

   8            A.      Yeah.

   9            Q.      Am I understanding correctly that you

 10      did not develop any similar counts for your

 11      analysis?

 12             A.      No, my guess is he didn't use either

 13      CASS or DPV.         And I would suggest that he didn't

 14      clean the rolls as it relates to identity

 15      verification first or he wouldn't have had this.

 16      This is bad process.

 17             Q.      Okay.      What should Mr. Davis have done?

 18                     MR. BOPP:         Excuse me.           I need to talk to

 19      my client for a second, so we will go off.

 20                     THE VIDEOGRAPHER:               Do you want to go off

 21      the record, Counsel?

 22                     MR. SHELLY:           I just want to reiterate my



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   1     objection to conferring between the witness and

   2     counsel about how to answer my questions.

   3                    (Pause from the record.)

   4                    MR. BOPP:         Okay.        We're back.         You can

   5     resume your questioning.

   6     BY MR. SHELLY:

   7            Q.      Mr. Phillips, you were telling me that

   8     there was -- that this document illustrates that

   9     Mr. Davis used a bad process.

 10                     Can you explain what you meant by that?

 11             A.      I was just speculating.                    It was not

 12      appropriate.         We don't do it this way.

 13             Q.      What does this document indicate was not

 14      done that should have been done?

 15             A.      I really can't speculate.                     I'm sure that

 16      Mr. Davis is doing a good job.

 17             Q.      Is this -- is your answer informed by

 18      off-the-record discussions you just had with

 19      counsel?

 20             A.      No.

 21             Q.      Did you discuss your testimony with

 22      counsel during that recess?



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   1                    MR. BOPP:         You know, your Honor -- I

   2     mean, your Honor -- Jacob, there was no pending

   3     question when I sought to consult with my client.

   4     There was no pending question, no pending answer.

   5     So --

   6                    But go ahead, Gregg, you can answer.

   7                    THE WITNESS:            No, I don't -- I don't --

   8     I'm not as aware of Mr. Davis' process as I should

   9     be to make a comment, so I don't know.

 10                     MR. SHELLY:           You can take this exhibit

 11      down.

 12      BY MR. SHELLY:

 13             Q.      For complex record linkage, do you think

 14      it is important that fields used to link records

 15      in different databases conform with respect to

 16      data format and data type?

 17             A.      What was the question?

 18             Q.      For complex record linkage, do you think

 19      it is important that fields used to link records

 20      in different databases conform with respect to

 21      data format and data type?

 22             A.      Sure.



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   1            Q.      So would you agree that it's

   2     important --

   3            A.      So assuming that you're performing an

   4     actual linkage, yes.

   5            Q.      Did you perform an actual linkage?

   6            A.      Can you define what you mean by

   7     "linkage."

   8            Q.      Well, I'm repeating the term that you

   9     just used.

 10                     What do you understand that to mean?

 11             A.      No, that's not true.                  You just said

 12      "linkage."

 13                     What do you mean by "linkage"?

 14             Q.      Is that not the term that you just used?

 15             A.      You asked me a question about linkage.

 16      Read the question.

 17             Q.      Did you attempt to link information

 18      between Georgia's voter rolls and other data sets?

 19             A.      What do you mean by "link"?

 20             Q.      Match.

 21             A.      Match?       Sure.

 22             Q.      When you performed that matching, do you



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   1     agree that it's important that the fields conform

   2     with respect to data format and data type?

   3            A.      Yes.

   4            Q.      Do you agree that it would be important

   5     that both databases used for the match use

   6     standardized abbreviations?

   7            A.      We have a separate approach that we use

   8     for that because we verify identity first.

   9            Q.      Okay.      Can you tell me about how you

 10      verify the identity?

 11             A.      No.

 12             Q.      Why not?

 13             A.      Because it's a proprietary service that

 14      my company used.

 15             Q.      Okay.      This case has a protective order

 16      in place specifically so we can understand these

 17      questions.

 18             A.      It's a 4,000-row algorithm.

 19                     What do you want to know?

 20             Q.      I want to know what you do to verify the

 21      identities before you perform the matching.

 22             A.      Assessing -- assessing identity involves



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                                                                                Page 108
   1     a complex series of mostly common algorithms,

   2     things like dissimilarity indexes, similarity

   3     indexes.       We use some fuzzy logic.                     We use a

   4     number of different things.                    That's my answer.

   5            Q.      Okay.      What is fuzzy logic?

   6            A.      Fuzzy logic is a set of -- in identity

   7     is a set of algorithms that's designed to

   8     ascertain whether something similar is near

   9     similar enough to assume that identity is

 10      accurate.       And if it's not, then it assigns a risk

 11      factor to it.

 12             Q.      And is this something that you developed

 13      yourself or you used an outside vendor for it?

 14             A.      Yes.     I developed --

 15             Q.      Which one?          Is that something --

 16             A.      I developed it myself in 2006.

 17             Q.      Okay.      Has its accuracy ever been

 18      analyzed by anybody else?

 19             A.      Its accuracy.            We use it every day in

 20      our business.          So it's used in practice, and we've

 21      done 43 million cases, so its accuracy is pretty

 22      well known.



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                                                                           Page 109
   1            Q.      Has it been independently verified by

   2     anybody else?

   3            A.      Nope.

   4            Q.      Who performed the match between the

   5     voter rolls and the other lists that you were

   6     analyzing?

   7            A.      What individual?

   8            Q.      That's my question, yes.

   9                    Are you thinking of an answer or was my

 10      question unclear?

 11             A.      I answered you.

 12             Q.      Who was the individual?

 13             A.      Me.

 14             Q.      Oh.

 15                     Did anybody else assist with that

 16      matching effort?

 17             A.      Not that I recall.

 18             Q.      Approximately on what date was the match

 19      completed?

 20             A.      Mid December.

 21             Q.      Can you tell me a few examples -- can

 22      you give me a complete list of all of the



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                                                                               Page 110
   1     technology that you used to perform that match?

   2            A.      No -- I mean, yeah, I can tell you.                        It

   3     was co-done by me and my company.

   4            Q.      Okay.      What was -- I believe you said

   5     you used a vendor called TrueNCOA?

   6            A.      That's one of the ones we used, yes.

   7            Q.      Can you tell me what their role was

   8     exactly?

   9            A.      Their role wouldn't be anything other

 10      than just being the group that performed -- that

 11      made the match.

 12                     MR. BOPP:         I'm sorry, Jacob.                I need to

 13      take this call for a second.                     Do you mind if we

 14      suspend for just a second?

 15                     MR. SHELLY:           Sure.       That's fine.

 16                     MR. BOPP:         Yeah.

 17                     MR. SHELLY:           You can go off the record.

 18                     THE VIDEOGRAPHER:               Okay.        The time is

 19      12:53 p.m.        We are now off the record.

 20                     (Recess from the record.)

 21                     THE VIDEOGRAPHER:               The time is 1:13 p.m.

 22      We are now on the record.



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                                                                            Page 111
   1     BY MR. SHELLY:

   2            Q.      Mr. Phillips, I understood at one point

   3     you said that you personally performed the match,

   4     I also understood you to say that TrueNCOA

   5     performed the match.

   6                    Can you clarify anything that I may have

   7     misunderstood with that?

   8            A.      I thought you meant the person that

   9     uploaded it.         I uploaded it.              I'm sorry.

 10             Q.      You uploaded -- you uploaded it to

 11      TrueNCOA?

 12             A.      And -- we wouldn't do just one.                    There

 13      were probably more.              SmartyStreets is one that we

 14      used sometimes.           I mean, there are others.

 15             Q.      SmartyStreets is in addition to

 16      TrueNCOA?

 17             A.      At times.         Depending on the results we

 18      get back, we can use both.

 19             Q.      So you would upload it to TrueNCOA.                    You

 20      would get a match back, and then sometimes you

 21      would provide match data to SmartyStreets?

 22             A.      It might not go in that direction.                    I



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                                                                             Page 112
   1     mean, we would use them as oracles.                          And when the

   2     algorithm needs information, it would seek the

   3     information from one, the other or both.

   4            Q.      What kind of information would it need?

   5            A.      The address information that TrueNCOA

   6     and SmartyStreets provide.

   7            Q.      Were there any others that you used

   8     besides TrueNCOA and SmartyStreets?

   9            A.      Not for addresses.

 10             Q.      For any other forms of data that were

 11      relevant to the challenge lists?

 12             A.      What's the question?

 13             Q.      I asked if there were any other programs

 14      similar to what TrueNCOA and SmartyLinks [sic]

 15      provides.       And you said not related to addresses.

 16             A.      No.

 17             Q.      Can you clarify what I got wrong?

 18             A.      You didn't get it wrong.                     You asked me

 19      if there were any more.                 I said no.

 20             Q.      Understood.

 21                     What queries did you use in producing

 22      the challenge list?



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                                                                             Page 113
   1            A.      What queries did we use?                     What do you

   2     mean?

   3                    MR. SHELLY:           Can we pull up Exhibit C.

   4     And go to the top of page 13.

   5     BY MR. SHELLY:

   6            Q.      I have some questions about number 4

   7     here at the top.            It says, "OpSec compared, using

   8     algorithms, queries, and various regression

   9     techniques" --

 10             A.      Yeah.

 11             Q.      -- "the addresses in the registration

 12      file to government and commercially available

 13      information in order to identify people who have

 14      either moved out of the county in which they are

 15      registered or who live outside the State of

 16      Georgia."

 17             A.      Right.

 18             Q.      So I'll just start at the beginning, I

 19      guess.

 20                     Can you tell me all of the algorithms

 21      you used?

 22             A.      As I said, we have a proprietary



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                                                                           Page 114
   1     algorithm that my company owns that we use

   2     primarily for the identity and residency

   3     resolution.

   4            Q.      Okay.      Are you willing to produce that

   5     algorithm or provide it in a format that we can

   6     review?

   7            A.      No.

   8            Q.      Okay.      And in the same context, can you

   9     tell me what queries you used?

 10             A.      Well, the query would be a query against

 11      the True- -- in this case, TrueNCOA and possibly

 12      SmartyStreets.          So they would -- they would pass

 13      it through their CASS system to clean it up,

 14      perform some hygiene on it.                    They'd look at

 15      delivery point verifications and those kind of

 16      things.      If we found some anomalies, we might

 17      access another system like a SmartyStreets, but

 18      that's it.        That's the query.

 19             Q.      So when you say you performed "hygiene,"

 20      can you give me a concrete example of what it

 21      would mean to provide hygiene to a piece of data

 22      that you analyzed here?



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                                                                             Page 115
   1            A.      Well, I think the USPS definition of

   2     "CASS" is pretty clear.                 I mean, I think they --

   3     you know, it basically standardizes -- goes

   4     through and standardized addresses, finds missing

   5     things, kind of rearranges, fixes it up.                          Like it

   6     might add a ZIP plus four.

   7                    You know, if there was a typo in the --

   8     maybe a lowercase in an address, they might make

   9     it upper case.          So they perform that

 10      data-cleansing process and then produce the list.

 11                     And then we would go through and -- or

 12      they would go through and push it through another

 13      one of their queries for -- you know, to see if

 14      the address was -- they could validate the

 15      delivery point, so could an address actually be

 16      delivered on that.             And that might push us off

 17      into something else, to maybe look for something

 18      else.

 19             Q.      Okay.

 20             A.      But it was done in a matter of minutes.

 21      This wasn't a lengthy process.

 22             Q.      So if there was an -- if a voter had an



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                                                                                 Page 116
   1     address, say, 123 Main, in a city that had a Main

   2     Street and a Main Avenue, how would know the CASS

   3     system know or SmartyStreets -- would either of

   4     those systems know how to complete it?                             Or what

   5     would it do in that situation?

   6            A.      You would have to ask them how they

   7     would do it.         To us, I mean, again, it's a

   8     function of whether or not it's likely to be the

   9     same person, organization or street.                              And then it

 10      assigns sort of a risk score to it.                          And then it's

 11      processed differently.

 12                     That might be a case where we would go

 13      and look at, say, a SmartyStreets to see if we can

 14      ascertain what the situation is.                        In the cases

 15      where we cannot, we would kick it out and not

 16      include it.

 17             Q.      Okay.      And when you say it would assign

 18      a "risk score," is that like a scale of 1 to 10?

 19      Or what kind of risk score can be given?

 20             A.      We have risk scoring built into our

 21      scoring mechanisms inside of our algorithms.

 22             Q.      So I'm trying to figure out what's



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                                                                                 Page 117
   1     the -- will it tell you that this is high risk,

   2     medium risk, low risk or is that like 1 to 100?

   3            A.      It would likely give you a number.

   4            Q.      And what would the scale be?

   5            A.      On this, I don't know what was used.                         So

   6     zero to 100, likely.

   7            Q.      Okay.      And 100 would mean very, very

   8     high risk?

   9            A.      No, low risk.

 10             Q.      Low risk.         Okay.

 11                     And so how low would the number need to

 12      be?    In other words, how high would the risk need

 13      to be for you to perform further analysis?                          If it

 14      returns a risk score of like 2, would you perform

 15      further analysis on that?

 16             A.      We might depending on what it is.

 17      Again, verifying identity is important.                           The

 18      problem in places like Georgia is that they don't

 19      give you all the info you need to get a good

 20      perfect verification on identity, but that too has

 21      risk to it as well.              So you look at risk across

 22      the board with the data.



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                                                                           Page 118
   1            Q.      Were you able to eliminate the risk?

   2            A.      You can never eliminate all of the risk.

   3            Q.      Did you analyze every piece of data that

   4     was flagged as a risk of potential inaccuracies?

   5            A.      The quality control algorithms would,

   6     yes, in seeking to remove any false positives or

   7     false negatives that might be in the system.

   8            Q.      And that's something that you did

   9     in-house or that's something that TrueNCOA would

 10      have done or something different?

 11             A.      No, that's something our algorithm does.

 12             Q.      And you run the data through your

 13      algorithm on the back end after you -- after

 14      TrueNCOA performs the match; is that correct?

 15             A.      Yes.

 16             Q.      And do you know how TrueNCOA or these

 17      others assign risk?

 18             A.      How they assign risk?                  I have no idea.

 19             Q.      Moving on to the next clause in this

 20      answer, what regression techniques did you use?

 21             A.      Our modeling is pretty significant.                  We

 22      use some k-means modeling.                    We use a variety of



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                                                                                   Page 119
   1     different techniques in our scoring.                              And then we

   2     use a model management process to identify the

   3     regression technique most likely to produce an

   4     accurate result.

   5            Q.      And in what stage in the process were

   6     you running these regressions?

   7            A.      They're run through the process.                           It's

   8     all baked into the system.                    Again, this whole

   9     thing took a few minutes.

 10             Q.      Am I understanding that you did these

 11      regressions after you received the preliminary

 12      match back from TrueNCOA, and then you're

 13      providing your own further analysis on it?

 14             A.      I didn't say that.

 15             Q.      Can you clarify what I misunderstood?

 16             A.      The formulas and algorithms that we use

 17      execute.       As they need information, they pull

 18      information in from an outside entity, say,

 19      TrueNCOA or whatever.                It feeds it into the system

 20      and then it continues to process it and keeps

 21      working to solve -- solve for the risk.                             And

 22      ultimately we come up with a list.



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                                                                                 Page 120
   1                    MR. SHELLY:           Okay.       You can take this

   2     exhibit down, Mr. White.

   3     BY MR. SHELLY:

   4            Q.      When you were matching the voter

   5     registration rolls to the NCOA list, what fields

   6     were matched between those files?

   7            A.      We just uploaded the file.                         CASS does

   8     the matching -- I'm sorry.                    The source does the

   9     matching, TrueNCOA or SmartyStreets.

 10             Q.      Okay.

 11             A.      In this case TrueNCOA first.

 12             Q.      Are you familiar with the term "unique

 13      identifier" in the context of data matching?

 14             A.      Sure.

 15             Q.      Are there any common unique identifiers

 16      between the voter registration rolls and NCOA

 17      lists?

 18             A.      Well, that -- not as many as there

 19      should be, and that's why we seek to resolve

 20      identity first.

 21             Q.      Are there any unique identifiers common

 22      between those two lists?



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                                                                                  Page 121
   1            A.      I don't have the Georgia list right off

   2     the top of my head.

   3            Q.      Do you think that the lack of unique

   4     identifiers could affect the accuracy of the

   5     lists?

   6            A.      Sure.

   7            Q.      Am I understanding correctly from your

   8     previous answers that the records are matched on

   9     partial matching rather than exact matching, these

 10      other databases would fill in any partial

 11      information?

 12             A.      That's not what I said.

 13             Q.      Was an exact match required between the

 14      data that you provided and the NCOA list?

 15             A.      You can never get an exact match.                         So

 16      when you provide the list to -- when you provide

 17      the list to the vendor, whoever it is, TrueNCOA or

 18      whoever, they take what you give them.                            They

 19      perform a little bit of a cleaning process on it.

 20      They try to update the addresses.                         They run it

 21      through CASS.          They try to get it right.                   And then

 22      they send it back.



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                                                                           Page 122
   1            Q.      Could individuals with the same first

   2     name and last name, but different middle initials

   3     be flagged as a match?

   4            A.      That's why you try to verify identity

   5     first, but yes.

   6            Q.      The answer is, yes, it could be?

   7            A.      Of course.

   8                    And -- but that's why you use fuzzy

   9     logic and some of the other things I mentioned

 10      earlier.

 11                     MR. BOPP:         Gregg, no question was

 12      pending.

 13      BY MR. SHELLY:

 14             Q.      Could names be matched if they had

 15      different name suffixes, like junior or senior?

 16             A.      Sure.      I mean, you could do that.

 17             Q.      How many duplicates did you identify

 18      where a record in the NCOA registry matched more

 19      than one record in the voter file?

 20             A.      I have no idea.

 21             Q.      Are you aware if any such duplicates

 22      were identified?



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                                                                           Page 123
   1            A.      I have no idea.

   2            Q.      Did you investigate whether there were

   3     any such duplicates?

   4            A.      I have no idea.              I don't -- it wasn't a

   5     topic.

   6                    MR. SHELLY:           Can we pull up Exhibit C

   7     again, the one we just had up.

   8     BY MR. SHELLY:

   9            Q.      This is page 13 again.                   And I have a

 10      question about number 6, "OpSec removed from the

 11      list any names that did not meet the standards of

 12      the Georgia code."

 13                     What standards do you understand the

 14      Georgia code to require?

 15             A.      I'm not sure what we were -- what we

 16      were referring to there.                  I'm not sure what we

 17      meant.

 18             Q.      Did you take any steps to remove names

 19      that did not meet the standards of the Georgia

 20      code?

 21             A.      I think that was just poorly worded.

 22             Q.      Okay.      Do you have any idea how you



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                                                                                Page 124
   1     could reword that in a different way?

   2            A.      I think it was referring to number 5

   3     above.      Because the code -- the relevant code

   4     section is pretty clear that any voter can do the

   5     challenge against any other voter in the

   6     jurisdiction.          And so there's not much room for

   7     standard in the word "any."

   8            Q.      Okay.      So is it -- am I understanding

   9     correctly that you do not think you removed any

 10      names that did not meet the standards of the

 11      Georgia code?

 12             A.      I'm not sure what it means.                        It must

 13      have been poorly worded.                  I'm not sure what that

 14      paragraph -- or what that sentence means.

 15             Q.      Okay.

 16                     MR. SHELLY:           You can take this exhibit

 17      down.

 18      BY MR. SHELLY:

 19             Q.      Is it your understanding, Mr. Phillips,

 20      that an individual who submits an NCOA, change of

 21      address, is no longer eligible to vote?

 22             A.      No, that's not correct.



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                                                                           Page 125
   1            Q.      What are some reasons you are aware of

   2     that someone could submit an address change to the

   3     postal service while remaining eligible to vote

   4     where they are registered?

   5            A.      I have no speculation on that point.

   6            Q.      Okay.      Just to clarify, you understand

   7     that someone can submit an NCOA list and still be

   8     properly registered, but you're not sure in what

   9     scenarios that may be the case?

 10             A.      I didn't understand that's what you

 11      asked.      Is that what you're asking?

 12             Q.      So my second question was, what are some

 13      reasons you're aware of that someone can submit an

 14      address change to the postal office while

 15      remaining eligible to vote where they are

 16      registered?

 17             A.      Maybe they're being deployed in the

 18      military.       Maybe -- might have something to do

 19      with school.         Those kind of things.

 20             Q.      Any other examples you're aware of?

 21             A.      Moved inside the county or inside the

 22      jurisdiction in which they were registered.



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                                                                             Page 126
   1     There's a few.

   2            Q.      Is it your understanding that someone

   3     who moved for other non-military government

   4     service could still be eligible to vote in

   5     Georgia?

   6            A.      I don't have a perfect list to offer

   7     you.     You asked me for some ideas.                       Those were

   8     three.

   9            Q.      And now I'm offering you some more and

 10      asking if they're consistent with what you would

 11      have understood the requirements to be.

 12                     So, one, would you have understood

 13      someone who moved for non-military government

 14      service to remain eligible to vote in Georgia even

 15      if they submitted an NCOA?

 16             A.      Sure.

 17             Q.      And would you understand someone to

 18      remain eligible to vote in Georgia if they had a

 19      temporary move or a part-time job or to visit

 20      family?

 21             A.      It depends on the circumstance, but yes.

 22             Q.      And would you recognize that someone



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                                                                           Page 127
   1     would remain eligible to vote if they forwarded

   2     their mail for some mail-specific purpose, for

   3     example, if they were on vacation and needed their

   4     mail to be forwarded?

   5            A.      Yep.

   6            Q.      And if someone intended to move and so

   7     filed an NCOA request, but did not actually move,

   8     you would agree that they would remain eligible to

   9     vote in Georgia?

 10             A.      It depends on their circumstance.                  I

 11      can't answer that.

 12             Q.      And the question is, if someone is

 13      living in Georgia, they intend to move so they

 14      file an NCOA request to forward their mail, and

 15      then they change their mind and do not actually

 16      move, you would agree that they're still eligible

 17      to vote in Georgia?

 18             A.      Sure.      If they still submitted the

 19      permanent move change, yeah.

 20             Q.      Okay.      Who was responsible for removing

 21      the names of eligible voters such as these from

 22      the challenge lists?



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                                                                           Page 128
   1            A.      We did our best to -- first of all, the

   2     code.       Let's put it that way.

   3            Q.      Okay.      To go through those examples

   4     again, would the code be able to identify someone

   5     who is deployed for military service?

   6            A.      As best we can, yes.                  We pulled out

   7     300,000 voters off the initial query.

   8            Q.      Okay.      I'll ask you another question

   9     about that in a second, but would the code be able

 10      to recognize someone who moved because they were a

 11      college student?

 12             A.      It might.

 13             Q.      How would it do that?

 14             A.      If they submitted a permanent change or

 15      a temporary change.

 16             Q.      Okay.      Would the code --

 17             A.      We also --

 18             Q.      -- also identify --

 19             A.      I'm sorry.          Go ahead.

 20             Q.      Go ahead.

 21             A.      Go ahead.

 22             Q.      Would the code be able to identify



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                                                                           Page 129
   1     someone who moved for non-military government

   2     service?

   3            A.      Possibly.         And it depends, again, how

   4     they submitted their NCOA and if they sold their

   5     house or -- you're making suppositions that can't

   6     be made.       It's not a one piece or another; it's

   7     the aggregate of it.

   8            Q.      Okay.      So I understand that the code

   9     cannot identify the purpose that someone submitted

 10      an NCOA request, but your answer is you think you

 11      can infer it from other sources of data?

 12             A.      As best we can.              And then when the

 13      challenge is made, the probable cause has to be

 14      identified by the county.                   And they are the ones

 15      with the capability of doing that.

 16             Q.      What steps did you take specifically to

 17      remove the names of individuals who live on or

 18      near a military base?

 19             A.      We have a list of ZIP codes that include

 20      all the military bases.                 We also use some of the

 21      military designators, FPO, that kind of thing.

 22      And we pull those directly from -- in the initial



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                                                                             Page 130
   1     query, rather than waiting till the end.

   2            Q.      When you say "we" --

   3                    (Unintelligible cross-talk.)

   4            Q.      -- was anyone else responsible for that

   5     besides you?

   6                    (Unintelligible cross-talk.)

   7            Q.      But there was no other person

   8     responsible for removing these names besides you?

   9            A.      No.

 10             Q.      If a person moved to an address, for

 11      example, Camp Lejeune, North Carolina, would that

 12      suggest to you that the person lives on a military

 13      base?

 14             A.      Potentially.

 15             Q.      What about an address on Andrews Air

 16      Force Base?

 17             A.      Potential.

 18             Q.      Barksdale Air Force Base?

 19             A.      Moved to or from?               What's the question?

 20             Q.      To.     To.

 21             A.      It depends.           It depends on what their

 22      submission said to the post office.                          So is it



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                                                                                 Page 131
   1     permanent?        Is it TDY?           Is it a permanent-duty

   2     station?       What is it?

   3            Q.      If someone submitted a permanent change

   4     of address to Dover Air Force Base, would you

   5     understand that that person was no longer eligible

   6     to vote in Georgia?

   7            A.      I don't know.            It depends.               I mean, not

   8     really because military situations are different.

   9     Because even if their permanent-duty station is

 10      somewhere, they can still be -- their permanent

 11      residency can still be in the state in which they

 12      register.       So it's much more complicated.

 13             Q.      What further analysis did you perform to

 14      identify if military voters who moved to a base

 15      can retain their eligibility in Georgia?

 16             A.      We didn't.

 17             Q.      Do you recall that Ms. Engelbrecht asked

 18      you to remove addresses associated with Moody Air

 19      Force Base?

 20             A.      I don't recall.

 21             Q.      Okay.

 22                     MR. SHELLY:           Can we pull up Exhibit D,



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                                                                             Page 132
   1     as in dog?

   2                    (Phillips Deposition Exhibit 8 was

   3     marked for identification and attached to the

   4     transcript.)

   5                    MR. SHELLY:           And scroll down to the next

   6     page.       Can we make this a little bit bigger.

   7     BY MR. SHELLY:

   8            Q.      Okay.      So this is an e-mail from

   9     Ms. Engelbrecht on December 16th to Mark, and you

 10      are cc'd.       And the e-mail, maybe three paragraphs

 11      down, says, "Also, please remove addresses that

 12      would suggest they are military bases

 13      (Ft. Benning, Moody Air Force Base...)."

 14                     First, this e-mail was to "Mark."

 15                     Am I correct in referring this is Mark

 16      Williams?

 17             A.      I have no idea.

 18             Q.      You're not sure who

 19      mark@printingtradeco.com is?

 20             A.      That might be Mark, but may be not.

 21      There could be more than one Mark.                          I have no idea

 22      if that's Mark Williams.



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                                                                               Page 133
   1            Q.      Okay.      Was Mark Williams responsible for

   2     removing any military voters from the list?

   3            A.      According to this, yes.

   4            Q.      Do you know if he did so?

   5            A.      I don't know.

   6            Q.      Did you ever ask him to do so?

   7            A.      It didn't matter because we ultimately

   8     chose not to mail the hard copies out.                            We sent

   9     electronic copies, so ultimately this didn't

 10      matter.

 11             Q.      Is that because Mark Williams would have

 12      had access to the hard copies so any changes he

 13      made would not have been reflected in the

 14      electronic copies?

 15             A.      I'm not sure I understand the question.

 16             Q.      I'm trying to understand why you said

 17      that it would not matter if Mark Williams made

 18      changes because you only sent electronic versions.

 19                     So my --

 20             A.      An electronic -- okay.

 21                     MR. BOPP:         There's no question pending,

 22      Gregg.



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                                                                                Page 134
   1     BY MR. SHELLY:

   2            Q.      My question for you --

   3            A.      I don't understand the question.

   4            Q.      My question for you, when you say that

   5     it would not matter, is that because Mr. Williams

   6     had access to the hard copies, but any changes to

   7     the hard copies would not be reflected in the

   8     electronic versions?

   9            A.      No, that doesn't mean that.                        It means we

 10      chose not to mail hard copies.

 11             Q.      And Mr. Williams was responsible for the

 12      hard copies; is that correct?

 13             A.      Printing the hard copies.

 14             Q.      Okay.      Did Mr. Williams have access to

 15      the electronic copies?

 16             A.      He had access to a -- whatever, an Excel

 17      spreadsheet or something with them on there, yeah.

 18             Q.      Would he have been able to remove

 19      addresses that suggested they were military bases?

 20             A.      I don't know the circumstance, so I just

 21      don't know.         I didn't -- I don't recall.

 22             Q.      Okay.      Returning to the Moody Air Force



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                                                                           Page 135
   1     Base example, do you know what town Moody Air

   2     Force Base is closest to in Georgia?

   3            A.      Macon?       I don't know.

   4            Q.      I'll represent to you that I believe

   5     it's Valdosta.

   6            A.      Yeah, that's right.

   7            Q.      Did you examine whether any addresses

   8     with a Valdosta address could be in the military

   9     or family of someone in the military?

 10             A.      We probably did, yeah.

 11             Q.      Would you have removed those voters?

 12             A.      Assuming that it met the matching

 13      requirement, sure.

 14                     MR. SHELLY:           You can take this exhibit

 15      down, Mr. White.

 16      BY MR. SHELLY:

 17             Q.      Mr. Phillips, are you familiar with

 18      UOCAVA?

 19             A.      Of course.

 20             Q.      Did you examine whether any voters on

 21      your list had requested a UOCAVA ballot?

 22             A.      As best we can.              As you know, UOCAVA



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                                                                           Page 136
   1     ballots and postcard ballots in general are not

   2     handled by the state; they're handled by the

   3     counties individually.

   4            Q.      How would you have researched or sought

   5     to identify whether an individual had requested a

   6     UOCAVA ballot?

   7            A.      Almost impossible because the counties

   8     don't publicize that.

   9            Q.      Okay.      When you say "almost impossible,"

 10      so was there anything you did to identify whether

 11      a voter had requested a UOCAVA ballot?

 12             A.      No, I am not aware of any way to do that

 13      effectively.

 14             Q.      Did you -- I think you said you did --

 15      well, let me just ask the question.

 16                     Did you take any steps to remove all the

 17      names of college or university students who were

 18      temporarily away from home?

 19             A.      Anyone temporary that had registered the

 20      temporary address change, yes.                       Permanent address

 21      changes, what we tried to do was eliminate the ZIP

 22      codes in and around the schools.



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                                                                           Page 137
   1            Q.      And how did you identify which ZIP codes

   2     were appropriate?

   3            A.      I don't recall what our methodology was.

   4            Q.      Were you only looking at -- were you

   5     looking at ZIP codes in Georgia or out of Georgia

   6     or both?

   7            A.      I don't know.

   8            Q.      Do you think an address in, for example,

   9     Notre Dame, Indiana, would suggest the person

 10      lives on a college campus?

 11             A.      Not necessarily.

 12             Q.      Why not?

 13             A.      What?

 14             Q.      So Notre Dame is a school within the

 15      city of South Bend, but if the address said Notre

 16      Dame, Indiana, is it your understanding that that

 17      person would not be living on a college campus?

 18             A.      Did the person submit a permanent change

 19      of address out of Georgia?

 20             Q.      This question wasn't about whether they

 21      would be eligible to vote; it would have been

 22      whether they moved to a college campus.



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                                                                            Page 138
   1            A.      I don't have any opinion about moving to

   2     college campuses.

   3            Q.      I didn't hear you.                Could you repeat

   4     that last part.

   5            A.      I don't have any opinion on your

   6     question.

   7            Q.      Is it your understanding that most

   8     students who attend college reside in a dormitory?

   9            A.      I would believe that to be false.

 10             Q.      Did you take any steps to remove the

 11      names of individuals who were temporarily

 12      attending college, but did not live in a

 13      dormitory?

 14             A.      Did they register as permanent moves

 15      from the NCOA?

 16             Q.      Am I gathering correctly that your

 17      analysis of whether voters were eligible turned on

 18      whether they filed a permanent or temporary change

 19      of address?

 20             A.      It might.         As I said, it's a complex

 21      algorithm.        It's 4,000 rows long.                   It doesn't --

 22      it doesn't work like your brain does.



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                                                                           Page 139
   1            Q.      Did you research which colleges Georgia

   2     high school students are most likely to attend?

   3            A.      No.

   4            Q.      Approximately how many names did you

   5     identify and remove of individuals you suspected

   6     were enrolled in a college or university?

   7            A.      I have no idea.

   8            Q.      What steps did you take to confirm

   9     whether an individual who submitted an NCOA

 10      request actually moved?

 11             A.      Well, we submitted it to TrueNCOA.                  We

 12      possibly submitted it to SmartyStreets if it

 13      needed more work.             And I think, in Georgia, we

 14      submitted the new address.                    So we told them where

 15      we thought the person went.

 16             Q.      Approximately how many -- approximately

 17      how many matches did TrueNCOA identify?

 18             A.      I don't recall.              It's all part of the

 19      equation.       We don't look at it that way.

 20             Q.      Approximately how many did you send

 21      along to SmartyStreets?

 22             A.      I don't know the answer to that either.



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                                                                              Page 140
   1            Q.      Do you know what proportion of the

   2     original list that TrueNCOA flagged that you would

   3     have sent along for further verification?

   4            A.      I recall that we probably got -- the

   5     initial cut was probably 700,000 or so.                           And then

   6     it ultimately got down to, what, 360-, so whatever

   7     that delta is.

   8            Q.      Approximately how much time did you

   9     spend reviewing the names that were matched

 10      between the voter file and the NCOA registry?                           Or

 11      am I understanding correctly that the code did all

 12      the analysis and you personally did not do any

 13      further?

 14             A.      There's a little bit of sort of

 15      reviewing the quality of reports to ensure that

 16      we're within something we consider reasonable on

 17      the false positives and false negatives, but an

 18      hour maybe.

 19             Q.      Okay.      And what would you have

 20      considered reasonable?

 21             A.      Maybe a standard deviation.

 22             Q.      Can you just explain that a little bit



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                                                                           Page 141
   1     more?       A standard deviation of what?

   2             A.     Relative to the potential error rate

   3     that we might expect.                That's the best way to

   4     frame it.

   5             Q.     Okay.      And what error rate did you

   6     expect?

   7             A.     Less than one standard deviation.

   8             Q.     If you had had more time, would you have

   9     done anything more?

 10             A.      No.

 11             Q.      Did you do anything to correct for

 12      potential matches of individuals in the voter file

 13      who share a first name, last name and reside at

 14      the same address?             Or am I understanding that you

 15      relied on TrueNCOA to determine whether that would

 16      be a match?

 17             A.      I never said that, but the import of

 18      verifying identity can't be overstated in this

 19      case.     And that would come as a result of helping

 20      verify identity.

 21             Q.      Okay.      So when you pulled the voter

 22      file, there was -- if there were two individuals



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                                                                            Page 142
   1     who shared a first name, last name and address,

   2     you would have done some further analysis of that

   3     at the front end; is that correct?

   4            A.      Yes.

   5            Q.      And that analysis would be by running it

   6     through a code, and they would try to fill in more

   7     information to distinguish these individuals?                           Or

   8     how exactly would you be able to distinguish them?

   9            A.      There are elements of risk in any

 10      determination.          And eliminating as many of the

 11      elements of risk as you can is important.                         The

 12      absolute verification of identity, again, has to

 13      be done by the counties because they have access

 14      to the state DMV file.                 They have access to other

 15      things that citizens and voters don't have.

 16                     The citizens and voters were compelled

 17      to identify -- give a specific reason for why they

 18      thought someone was ineligible, and having moved

 19      was the reason.           And so our -- our ability to

 20      identify -- verify identity is limited by the fact

 21      that Georgia only gives year of birth rather than

 22      day and month and year of birth.



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                                                                           Page 143
   1            Q.      Are you aware that thousands of records

   2     in the challenge list do not show a street address

   3     in the "moved to" field?

   4            A.      Yes.     Because sometimes people move and

   5     they don't give their address.                       They don't give

   6     their forwarding address.

   7            Q.      And what is the reason for challenging

   8     someone on the basis of residency when you do not

   9     have evidence of where the person moved?

 10             A.      Because that's the specific -- the law

 11      compels a voter to challenge based on a specific

 12      reason.      The specific reason is they believe they

 13      moved.

 14             Q.      How could a voter be notified of a

 15      challenge if you do not know the forwarding

 16      address?

 17             A.      How would a voter be notified?

 18             Q.      Yes.

 19             A.      Okay.      We don't notify the voters.              The

 20      county notifies the voter when they come in to

 21      vote.

 22             Q.      Okay.



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                                                                           Page 144
   1                    MR. SHELLY:           Can we pull up Exhibit F.

   2                    (Phillips Deposition Exhibit 9 was

   3     marked for identification and attached to the

   4     transcript.)

   5     BY MR. SHELLY:

   6            Q.      Are you familiar with this table,

   7     Mr. Phillips?

   8            A.      No, I don't know.               It doesn't ring a

   9     bell.       I don't know that I saw it yesterday.                  What

 10      is it?

 11             Q.      This is a document that you -- that

 12      OpSec produced in response to our discovery

 13      requests.

 14             A.      Okay.      What's the question?

 15             Q.      Did you create this table?

 16             A.      It looks like it was created out of the

 17      system.

 18             Q.      Why does it only include nine counties?

 19             A.      I have no idea, actually.

 20             Q.      How would you have used this

 21      information?

 22             A.      We wouldn't use this information at all.



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                                                                           Page 145
   1     It was system-generated.

   2                    MR. SHELLY:           You can take this down,

   3     Mr. White.

   4     BY MR. SHELLY:

   5            Q.      Mr. Phillips, did you review the

   6     challenge lists for instances where the name of

   7     the registrant in the challenge file does not

   8     match the name in the voter file or the registrant

   9     with that registration number?

 10             A.      We would have, yes.

 11             Q.      And if you had noticed that, would you

 12      still -- should that person have been included in

 13      the challenge list if their name in the challenge

 14      list did not match the name assigned to that

 15      registration number in the registration rules?

 16             A.      That likely would have been an exception

 17      and would have been kicked out, but it's possible

 18      it could be included.

 19             Q.      Did you review the challenge list for

 20      instances where the address an individual is

 21      registered at and the address where a registrant

 22      moved to are identical?



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                                                                              Page 146
   1            A.      There are some anomalies like that, yes.

   2            Q.      Should those anomalies have been removed

   3     from the challenge list?

   4            A.      I would like to think they would, but

   5     it's possible they wouldn't.                     There are some other

   6     reasons why, especially if it was a different

   7     name.

   8            Q.      Would you review the challenge list to

   9     confirm whether an individual reregistered at the

 10      address where the NCOA match suggested the

 11      individual moved to?

 12             A.      That was beyond our capacity.                      So in

 13      that case, what we would say is submit the

 14      challenge and let the county figure it out.

 15             Q.      Do you know what it would mean when a

 16      record shows a "moved to" street address of

 17      general delivery?

 18             A.      It could mean a lot of things.                     They

 19      didn't give an address.                 They didn't have an

 20      address when they moved.                  It's possibly a homeless

 21      person.      There are dozens of reasons.

 22             Q.      Would you still understand that to



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                                                                             Page 147
   1     provide probable cause for a challenge?

   2            A.      We don't determine probable cause.                     We

   3     determine the reason that the voter would make the

   4     challenge.        The county determines probable cause.

   5            Q.      Did I hear you correctly earlier to

   6     suggest that the challenge lists ultimately

   7     included approximately 360,000 individuals?

   8            A.      We didn't challenge that many.                     That's

   9     how many we identified.                 The counties didn't take

 10      up the challenges in most cases.

 11             Q.      Okay.      Of that whole list that you had

 12      prepared, the 360,000, how many do you think of

 13      those individuals were actually ineligible to

 14      vote?

 15             A.      Well, that would be for the county to

 16      determine.        We don't know.

 17             Q.      Do you have any anticipation of what

 18      that figure would have been?

 19             A.      I'm not going to speculate.

 20             Q.      Do you accept that some individuals on

 21      the challenge list may be eligible to vote?

 22             A.      Sure.



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                                                                           Page 148
   1            Q.      Did you discuss the potential inaccuracy

   2     of the list with anybody?

   3            A.      I don't recall.

   4            Q.      Do you think that 99 percent of the

   5     names on the challenge list were ineligible to

   6     vote?

   7            A.      As I said, I have no idea.

   8            Q.      Are you aware of any challengers who

   9     retracted their challenge after concluding that

 10      the lists you prepared were unreliable?

 11             A.      I'm not, but I wouldn't have had that

 12      communication.

 13             Q.      Did you use the Social Security Death

 14      Index as part of your process?

 15             A.      Not in this instance.

 16             Q.      "This instance" referring to the Georgia

 17      challenge lists?

 18             A.      Yes.

 19             Q.      Are there any other data sources you

 20      believe could have enhanced the accuracy of the

 21      challenge lists?

 22             A.      Not for the purposes for which we



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                                                                           Page 149
   1     were -- we were called to work.

   2            Q.      How many counties did you prepare

   3     challenge lists for?

   4            A.      I think we did them all.

   5            Q.      And in how many counties were challenge

   6     lists actually submitted?

   7            A.      I don't know the answer to that.

   8     Catherine can answer that.

   9            Q.      Do you know how counties were chosen for

 10      lists to be submitted?

 11             A.      I believe it's where we found a Georgia

 12      voter that lived in the jurisdiction to make the

 13      challenge.

 14             Q.      After you conducted the initial match,

 15      did you analyze demographic information or other

 16      characteristics of the individuals you identified?

 17             A.      Not until after you sued us.

 18                     MR. SHELLY:           Can we pull up Exhibit H.

 19                     (Phillips Deposition Exhibit 10 was

 20      marked for identification and attached to the

 21      transcript.)

 22



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                                                                             Page 150
   1     BY MR. SHELLY:

   2            Q.      This is a TrueAppend document.                     We can

   3     scroll through it several pages.                        Once you have a

   4     sense, can you tell me if you're familiar with

   5     this document.          Feel free to ask Mr. White to

   6     scroll directly.

   7            A.      Yes, I am familiar with it.

   8            Q.      Can you describe what it is for me?

   9            A.      It is a quality check on numbers.

 10             Q.      Do you know when this document was

 11      created?       It looks like it says December 16th.

 12             A.      Probably before we sent the challenges

 13      out.

 14             Q.      Okay.      And do you know why it was

 15      created?

 16             A.      Yes, quality control.                  Trying to pull --

 17      remove voters that would be a false positive or

 18      false negative.

 19             Q.      Okay.

 20                     MR. SHELLY:           Can you scroll to the next

 21      page, Mr. White.            Next page.

 22



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                                                                           Page 151
   1     BY MR. SHELLY:

   2            Q.      How would you have used age information

   3     for your quality control?

   4            A.      We wouldn't.            This was -- this is part

   5     of the report that comes back from TrueAppend.

   6                    MR. SHELLY:           Next page.

   7     BY MR. SHELLY:

   8            Q.      How would you have used business owner

   9     information?

 10             A.      We don't.         It's part of the report that

 11      comes back from TrueAppend.

 12             Q.      Which parts of this report did you use?

 13             A.      Probably just looked at the overall

 14      numbers and then tried to assess whether or not

 15      there was some accuracy -- noticeable accuracy

 16      issues.      And we don't use this product anymore,

 17      but that would be it.

 18             Q.      Why don't you use this project anymore?

 19             A.      Product.

 20                     It's not effective.                 We have automated

 21      testing tools now that we did not have.

 22             Q.      Do you know how much OpSec paid for this



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                                                                             Page 152
   1     report?

   2            A.      Probably nothing.               Twenty bucks --

   3            Q.      TrueAppend provided it for free?

   4            A.      -- forty bucks?              I don't know.         I don't

   5     know how much...

   6            Q.      Would you make any changes to the

   7     challenge lists after reviewing -- after reviewing

   8     information in this report?

   9            A.      Not that I recall.

 10                     MR. SHELLY:           You can take this one down,

 11      Mr. White.

 12      BY MR. SHELLY:

 13             Q.      Mr. Phillips, once a voter has been

 14      challenged, what is your understanding of what

 15      that voter must do to be able to cast a ballot and

 16      have that ballot counted?

 17             A.      Prove who they were -- or prove where

 18      they lived.         Excuse me.          Sorry.

 19             Q.      Did you consider the burden this process

 20      could impose over the Christmas holidays on voters

 21      who were temporarily outside of Georgia for a

 22      legitimate reason?



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                                                                            Page 153
   1            A.      No.

   2            Q.      Do you think it would be harder for some

   3     eligible voters than others to respond to a

   4     challenge?

   5            A.      No.

   6            Q.      It would be equally hard for all voters?

   7            A.      It would be equally easy for all voters.

   8            Q.      It would be equally easy for voters who

   9     were temporarily out of state as it was for voters

 10      who remained in state?

 11             A.      To do what?           Vote?

 12             Q.      To prove their address.

 13             A.      That's irrelevant to the issue.                    The

 14      issue is we had to give a reason why the voter

 15      wanted to make the challenge.

 16             Q.      Did you consider the burden --

 17             A.      The counties themselves, by the way,

 18      lifted that burden.              The few that took them up

 19      actually did the work themselves to figure out

 20      whether the person was properly registered or not.

 21             Q.      Did you consider the burden this process

 22      would impose on election administrators who were



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                                                                           Page 154
   1     asked to resolve hundreds of thousands of

   2     challenges in the weeks before an election?

   3            A.      No.     And they didn't do it, so it was

   4     irrelevant.         They have a burden under the law --

   5     they hold the burden to prove probable cause, not

   6     the voters.

   7            Q.      Did you care one way or the other which

   8     candidates won the Georgia Senate runoff

   9     elections?

 10             A.      It's irrelevant to this.

 11             Q.      But did you care?

 12             A.      Sure.

 13             Q.      Which candidates did you support?

 14             A.      I didn't support any.                  I don't vote

 15      there.

 16             Q.      Which candidates did you want to win?

 17             A.      The ones who care about free and fair

 18      elections.

 19             Q.      So Senator Warnock and Ossoff?

 20             A.      It's irrelevant.               I'm not answering your

 21      questions.        I have a right to privacy for my vote

 22      and my opinion.



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                                                                           Page 155
   1            Q.      Did you expect the voter challenges to

   2     have an impact on the election results?

   3            A.      We hoped that they would be taken up,

   4     and we hoped that they would be taken seriously,

   5     but we continue in that effort well past the

   6     election.

   7            Q.      Did you ever discuss the impact the

   8     challenges were expected to have on the election

   9     results with any defendants in this case?

 10             A.      I have no idea.

 11             Q.      Do you believe Senators Warnock and

 12      Ossoff won the January elections fairly?

 13                     MR. BOPP:         I object.           You're getting so

 14      ridiculously far afield of the subject matters,

 15      and I instruct him not to answer.

 16      BY MR. SHELLY:

 17             Q.      Mr. Phillips, are you following your

 18      attorney's instruction not to answer?

 19             A.      Yes.

 20             Q.      Do you think Democrats are more likely

 21      than Republicans to vote illegally?

 22                     MR. BOPP:         I object.           This is way beyond



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                                                                           Page 156
   1     the scope of the subject matter, and I instruct

   2     him not to answer.

   3     BY MR. SHELLY:

   4            Q.      Are you following that instruction?

   5            A.      Yes.

   6            Q.      Do you think there is more voter fraud

   7     in urban areas than rural areas?

   8                    MR. BOPP:         I object.           It goes way beyond

   9     the scope of the subject matter and instruct him

 10      not to answer.

 11      BY MR. SHELLY:

 12             Q.      Okay.      I have a few questions to make

 13      sure I understand some of the other documents that

 14      were produced in discovery.

 15                     MR. SHELLY:           Mr. White, can you pull up

 16      Exhibit I.

 17                     (Phillips Deposition Exhibit 11 was

 18      marked for identification and attached to the

 19      transcript.)

 20                     THE VIDEOGRAPHER:               Give me one moment.

 21      BY MR. SHELLY:

 22             Q.      Are you familiar with this document?



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                                                                                Page 157
   1            A.      No.

   2            Q.      This is another document that was

   3     produced by OpSec, but I understand that you have

   4     not seen this document before?

   5            A.      I'm not familiar with it.                     I don't

   6     recall it.

   7            Q.      Do you know who Richard Sobczak is?

   8            A.      No.

   9            Q.      Do you know why this document might have

 10      been created?

 11             A.      No idea.

 12             Q.      Okay.

 13                     MR. SHELLY:           You can pull this down.

 14      BY MR. SHELLY:

 15             Q.      Just to have clarity on a previous

 16      question that I asked, when I asked who you

 17      supported in the Georgia Senate runoff elections,

 18      you told me that you had a right to a secret

 19      ballot.

 20                     I just wanted to clarify that because

 21      you're not a Georgia voter, I'm not asking who you

 22      voted for.        I'm asking who you supported.



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                                                                            Page 158
   1            A.      But you're asking for my opinion.

   2                    MR. BOPP:         I object to you asking for

   3     his opinion about who he'd like to see elected.

   4     It's totally irrelevant and beyond the scope of

   5     the subject matter.              I instruct him not to answer.

   6     BY MR. SHELLY:

   7            Q.      Are you following that instruction,

   8     Mr. Phillips?

   9            A.      Yes.

 10                     MR. SHELLY:           Mr. White, can you pull up

 11      Exhibit J.

 12                     (Phillips Deposition Exhibit 12 was

 13      marked for identification and attached to the

 14      transcript.)

 15                     MR. SHELLY:           Okay.       Can you zoom in on

 16      this page.

 17      BY MR. SHELLY:

 18             Q.      So here at the bottom is a December 15th

 19      e-mail from you.            It looks like Mr. Williams and

 20      Ms. Engelbrecht are on this e-mail chain.                         And you

 21      ask, "Can y'all hop on a call late afternoon today

 22      to discuss our progress and any blockers we may



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                                                                               Page 159
   1     have?"

   2                    Do you see that?

   3            A.      Yes.

   4            Q.      What are the "blockers" that you

   5     reference in this e-mail?

   6            A.      I was inquiring are there any.

   7            Q.      I see.

   8                    And were there any?

   9            A.      Not that I recall.

 10             Q.      Okay.

 11                     MR. SHELLY:           Can you pull up Exhibit K.

 12                     (Phillips Deposition Exhibit 13 was

 13      marked for identification and attached to the

 14      transcript.)

 15                     MR. SHELLY:           Okay.       Can we go to the

 16      next page.        Scroll down.            I'm not sure if there's

 17      more on this page.             Yeah, I'm looking at this

 18      bottom paragraph.             Sorry.        Can you reverse that

 19      highlighting.          There's a different section I'm

 20      looking for.         Okay.       Right above that.                The e-mail

 21      from Mr. Phillips, yes.

 22                     THE VIDEOGRAPHER:               Sorry.        My apologies.



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                                                                             Page 160
   1                    MR. SHELLY:           It's just -- I'm squinting

   2     on the screen, but what I want is actually at the

   3     top of page 2, which is why I wasn't seeing it.

   4     And the date line is actually right above this

   5     page.       It might be helpful context.                     It's the

   6     first line of the previous page.                        It shows this

   7     was a December 20th e-mail.

   8     BY MR. SHELLY:

   9            Q.      Mr. Phillips, you write, "Because these

 10      are supplemental to the electronic filing, we

 11      don't really have a huge need to get these shipped

 12      out immediately.            If we drop ship across the next

 13      week or so, can you get us a cost estimate?                         There

 14      is some strategy at play here and we are adjusting

 15      tactics to compensate."

 16                     And as you can see, this is an e-mail

 17      string with Mark Williams.

 18                     Do you see what I'm referring to?

 19             A.      Yes.

 20             Q.      Okay.      My question is, what is the

 21      "strategy at play" that you are referencing?

 22             A.      Whether or not we were going to ship



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                                                                           Page 161
   1     both the hard copy in addition to the electronic

   2     copy which was being shipped.

   3            Q.      Okay.      And how did you adjust tactics?

   4            A.      We ended up not shipping them to the

   5     counties.

   6            Q.      Okay.      And why was that decision made?

   7            A.      Cost, among other things, but the

   8     counties were okay with just getting them

   9     electronically, and they didn't want the boxes

 10      dumped on their doorstep.

 11             Q.      Got it.

 12                     MR. SHELLY:           Can we pull up Exhibit L.

 13                     (Phillips Deposition Exhibit 14 was

 14      marked for identification and attached to the

 15      transcript.)

 16      BY MR. SHELLY:

 17             Q.      At the top here, this is December 28th,

 18      you e-mail Roberta, "Can you please purchase the

 19      newest GA voter filer?                 I think it is $250.        We

 20      need to have it expedited if possible."

 21                     Who is Roberta?

 22             A.      She's a volunteer that used to work for



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                                                                           Page 162
   1     Mrs. Engelbrecht.

   2            Q.      Okay.      And why did you need the Georgia

   3     file on December 28th after the challenges had

   4     been submitted?

   5            A.      We are -- this would have been one of

   6     likely hundreds that went out.                       We were constantly

   7     acquiring new data.

   8            Q.      Okay.

   9            A.      It's not related to the challenges

 10      likely.

 11             Q.      Okay.

 12                     MR. SHELLY:           Can you go down to page 2.

 13      BY MR. SHELLY:

 14             Q.      And then right here in the middle of the

 15      page, you e-mail, "Sorry guys.                       I was cutting a

 16      corner.      We will take care of this."

 17                     My question is, what did you mean when

 18      you said you were cutting a corner?

 19             A.      I have no idea out of context like that.

 20             Q.      Okay.      Feel free to take a look at the

 21      rest of this e-mail chain for context.

 22             A.      I have no idea.              I was probably trying



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                                                                              Page 163
   1     to get -- I was probably trying to get the file.

   2     There are two files in Georgia.                       One file has

   3     history on it and one file has the actual voter

   4     registrations.          And they're linked by the UVID.

   5     And I was probably trying to get one file before

   6     the other one was done, is what I was probably

   7     trying to do.

   8                    MR. SHELLY:           Can we pull up Exhibit M.

   9                    (Phillips Deposition Exhibit 15 was

 10      marked for identification and attached to the

 11      transcript.)

 12      BY MR. SHELLY:

 13             Q.      Are you familiar with this spreadsheet?

 14             A.      I'm not.        And I know you guys are saying

 15      that I submitted these, but I don't use Excel.

 16      And I'm a little unclear on -- you're saying I

 17      submitted this in Excel, and that's -- that just

 18      doesn't ring true to me.                  I'm not sure.           But I'm

 19      familiar with the numbers, so...

 20             Q.      Okay.      So this looks to me like a

 21      spreadsheet of racial data.

 22                     Do you know when this --



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                                                                           Page 164
   1            A.      No idea.

   2            Q.      -- spreadsheet would have been created?

   3            A.      No idea.

   4            Q.      Okay.      But you did not create this and

   5     you have not seen this; is that correct?

   6            A.      I may have seen it after the -- I mean,

   7     as I said, we probably looked after we were sued,

   8     but not before.           I have no idea.

   9            Q.      Okay.

 10             A.      It's not relevant.

 11                     MR. SHELLY:           Will you put up Exhibit O.

 12                     (Phillips Deposition Exhibit 16 was

 13      marked for identification and attached to the

 14      transcript.)

 15      BY MR. SHELLY:

 16             Q.      Are you familiar with this document?

 17             A.      I am.

 18             Q.      Can you explain what it is?

 19             A.      It's a screenshot from a product called

 20      DataWalk.       It's an intelligence community and law

 21      enforcement product that they use to link data.

 22             Q.      And how did you use this?



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                                                                                 Page 165
   1            A.      We used it, and use it regularly, to do

   2     a type of regression analysis and data linkage.

   3            Q.      Was it used to generate the challenge

   4     lists?

   5            A.      No.

   6            Q.      Okay.

   7                    MR. SHELLY:           Can we pull up Exhibit P.

   8                    (Phillips Deposition Exhibit 17 was

   9     marked for identification and attached to the

 10      transcript.)

 11      BY MR. SHELLY:

 12             Q.      Are you familiar with this document?

 13             A.      It doesn't ring a bell, but it looks a

 14      little bit like a DataWalk document.                              I can barely

 15      see it.      It's too small to see, but I assume it's

 16      a DataWalk document.

 17             Q.      Mr. --

 18             A.      Let me rephrase that.

 19                     I don't know.            We don't usually look at

 20      this.

 21                     MR. SHELLY:           Mr. White, can you zoom in

 22      on, say, the top circle?



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                                                                           Page 166
   1                    THE WITNESS:            Yeah, that's a DataWalk

   2     document.

   3     BY MR. SHELLY:

   4            Q.      Did you use this in relation to the

   5     challenge lists?

   6            A.      No.

   7            Q.      What would you have used this for?

   8            A.      Just looking at different linkages

   9     between different files and checking to see what

 10      we can find.         In this particular -- if we used it,

 11      we used it to exclude.                 Because we typically don't

 12      get into the whole deceased voter thing that

 13      people talk about.

 14             Q.      You say you typically do not research

 15      whether there are deceased voters?

 16             A.      We will occasionally look when we are

 17      asked, but it's not a topic -- it was not a topic

 18      for the challenges and not a topic in Georgia.

 19             Q.      Okay.

 20                     MR. SHELLY:           You can take that one down,

 21      Mr. White.

 22



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                                                                            Page 167
   1     BY MR. SHELLY:

   2            Q.      Mr. Phillips are you familiar with the

   3     Crusade for Freedom?

   4            A.      No.

   5            Q.      Are you familiar with the Twitter

   6     account @Crusade4Freedom?

   7                    MR. BOPP:         I object.           I mean, if you

   8     think this is relevant, you can tell me why, but,

   9     otherwise, I'm going to object.                       There's no

 10      foundation laid.            This isn't relevant at all to

 11      anything.

 12                     MR. SHELLY:           Can we --

 13                     MR. BOPP:         And it's way beyond the scope

 14      of the subject matter.                 But, I mean, if you want

 15      to tell me, fine; if you don't, I'll just stand on

 16      my objection.

 17                     MR. SHELLY:           Can we pull up Exhibit T.

 18                     (Phillips Deposition Exhibit 18 was

 19      marked for identification and attached to the

 20      transcript.)

 21      BY MR. SHELLY:

 22             Q.      So these are tweets.                  The first one



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                                                                            Page 168
   1     says, "We just prospectively challenged the

   2     eligibility of 360,000 voters in Georgia.                         Largest

   3     single election challenge in Georgia and American

   4     history."

   5                    Does this refresh your recollection

   6     about what the Crusade for Freedom is?

   7            A.      No.     I'm not on Twitter so...

   8            Q.      Okay.      Fair to say that you do not know

   9     who tweets under this account?

 10             A.      No, I don't know.

 11             Q.      Okay.

 12                     MR. SHELLY:           Can you pull up Exhibit U.

 13                     (Phillips Deposition Exhibit 19 was

 14      marked for identification and attached to the

 15      transcript.)

 16      BY MR. SHELLY:

 17             Q.      Are you familiar with this document?

 18             A.      Yes.

 19             Q.      Can you explain what it is?

 20             A.      It's sort of a brain dump when I was

 21      first kind of working through some of the ideas

 22      and how we might be able to put it together.                         It



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                                                                           Page 169
   1     was sort of -- not much more than just a planning

   2     thing.

   3            Q.      So you created this yourself?

   4            A.      That's my handwriting, yes.

   5            Q.      And do you know when you would have

   6     created this?

   7            A.      I don't.

   8            Q.      At the very top, what is "IV3"?

   9            A.      IV3 is independent vote, validation and

 10      verification.

 11             Q.      And is that something you developed

 12      or --

 13             A.      Yes.

 14             Q.      Okay.      And can you -- we touched briefly

 15      on this on the invoice, but can you tell me more

 16      about what Eyes on Georgia is.

 17             A.      It's just a working name for the overall

 18      projects we were working on.

 19             Q.      Projects just in Georgia?

 20             A.      Initially, yes, but ultimately beyond.

 21             Q.      Is the Eyes on Georgia program still

 22      continuing?



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                                                                           Page 170
   1            A.      No.     It was never really a program.               It

   2     was just how we were bucketing all the work we

   3     were doing.

   4            Q.      And this is work related to the Senate

   5     runoff election or more than that?

   6            A.      Mostly the Senate runoff election.

   7            Q.      Okay.      Here about halfway down, there's

   8     "Ops (OPSEC)" and then it lists a few things.

   9                    What hardware did you provide?

 10             A.      I have a data center.

 11             Q.      Okay.      And what software did you

 12      provide?

 13             A.      The Ground -- it was mostly referring to

 14      data, but the Ground database primarily.

 15             Q.      Okay.      And then can you explain what the

 16      "Team" in quotation marks refers to?

 17             A.      I don't know.

 18             Q.      Okay.      And the "Hotline" is the hotline

 19      that we discussed at the beginning of the call --

 20      at the deposition that you created; is that

 21      correct?

 22             A.      Yes, sir.



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                                                                           Page 171
   1            Q.      Just a few other questions.

   2                    Here kind of in the middle on the right,

   3     there are two names.               The first is "Eric."

   4                    Who is Eric?

   5            A.      I don't know.            I don't have anyone

   6     working for me named Eric.

   7            Q.      Do you know anyone who worked on Eyes on

   8     Georgia named Eric?

   9            A.      I do not.

 10             Q.      And how about the name right below that

 11      that starts with an "M"?

 12             A.      I don't know what that even says.

 13             Q.      Okay.

 14             A.      I'm uncertain.

 15             Q.      And below that, there's a little section

 16      for "Budget."

 17                     What was the total budget for this

 18      project?

 19             A.      This was well before the budget and we

 20      were just -- I was just writing things down.                       This

 21      was just a working document.                     There was no magic

 22      to this.



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                                                                            Page 172
   1            Q.      What did you anticipate the budget would

   2     be?

   3            A.      I don't know that we even looked at it

   4     in the context of just the -- just the runoff.                          We

   5     have a lot of activity that we're involved in.

   6            Q.      Was there any discussion on what the

   7     budget would be for the runoff?

   8            A.      Not really.

   9            Q.      Under "Budget" are "Ads."

 10                     Were ads ever purchased for the Eyes on

 11      Georgia project?

 12             A.      No.

 13                     MR. SHELLY:           All right.           We can take

 14      this one down.

 15      BY MR. SHELLY:

 16             Q.      Since December 2020, have you matched

 17      the Georgia voter file to NCOA data?

 18             A.      Since December of 2020?

 19                     THE WITNESS:            You know, Jim, we've

 20      done -- I'm not -- I thought this was through the

 21      2020 election.

 22                     MR. BOPP:         Good point --



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                                                                           Page 173
   1                    (Unintelligible cross-talk.)

   2                    MR. BOPP:         -- questions regarding after

   3     the 2020 election.

   4                    MR. SHELLY:           Okay.       Well, for the

   5     record, I will ask these questions.

   6     BY MR. SHELLY:

   7            Q.      For whom have you matched the Georgia

   8     voter files to NCOA data since December 2020?

   9                    MR. BOPP:         I object.           It goes beyond the

 10      court order and the subject matter for the

 11      30(b)(6) deposition, and I instruct him not to

 12      answer.

 13      BY MR. SHELLY:

 14             Q.      And why have you matched the Georgia

 15      voter file to NCOA data after December 2020?

 16                     MR. BOPP:         Same objection and same

 17      instruction.

 18      BY MR. SHELLY:

 19             Q.      Mr. Phillips, are you following your

 20      counsel's instruction for each of those questions?

 21             A.      Yes.

 22             Q.      Are you currently -- strike that.



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                                                                                    Page 174
   1                    Have you assisted in any other efforts

   2     to challenge Georgia voters besides in

   3     December 2020?

   4                    MR. BOPP:         You mean previously or

   5     subsequently?

   6                    MR. SHELLY:           Either.

   7                    MR. BOPP:         Okay.        I'll object to the

   8     subsequently as beyond the scope of the subject

   9     matter and the court's order.

 10                     You can answer as to previously, you

 11      know, previously starting at 2016.

 12                     THE WITNESS:            No.

 13      BY MR. SHELLY:

 14             Q.      Besides the efforts we discussed related

 15      to Mr. Davis and Mr. Somerville, are you aware of

 16      any other efforts to challenge Georgia voters?

 17             A.      No.

 18                     MR. BOPP:         Which election?                  In the

 19      history of the world?                I object.          It violates the

 20      court order because it goes before 2012.                             It also

 21      violates the court order as going after 2020.

 22                     MR. SHELLY:           So I'll break that into two



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                                                                           Page 175
   1     questions.

   2     BY MR. SHELLY:

   3            Q.      Are you aware of any other efforts to

   4     challenge voters in Georgia between 2012 and 2020

   5     in addition to the effort you were involved with

   6     and the effort that Mr. Davis and Mr. Somerville

   7     were involved with?

   8            A.      No.

   9            Q.      And are you aware of any efforts since

 10      December 2020 to challenge voters in Georgia?

 11                     MR. BOPP:         You can answer that.

 12                     THE WITNESS:            Since 2020?

 13      BY MR. SHELLY:

 14             Q.      Yes.

 15             A.      To challenge voters?

 16             Q.      Yes.

 17             A.      No.

 18             Q.      Do you plan to assist in any efforts to

 19      challenge Georgia voters in the future?

 20                     MR. BOPP:         Object.         Goes beyond the

 21      scope of the subject matter and the court order,

 22      and I instruct him not to answer.



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                                                                                  Page 176
   1     BY MR. SHELLY:

   2            Q.      Is True the Vote planning to coordinate

   3     Georgia voter challenges again in the future?

   4                    MR. BOPP:         Same objection.                  Same

   5     instruction.

   6     BY MR. SHELLY:

   7            Q.      Mr. Phillips, are you following your

   8     counsel's instructions for each of those

   9     questions?

 10             A.      Yes.

 11             Q.      Okay.      Did you previously head the

 12      Mississippi Department of Human Services?

 13                     MR. BOPP:         I'm sorry.           What was the

 14      question about Mississippi?

 15      BY MR. SHELLY:

 16             Q.      I asked if you previously headed the

 17      Mississippi Department of Human Services.

 18                     MR. BOPP:         You're talking about --

 19                     Okay.      Go ahead.

 20                     THE WITNESS:            Not since 2012.

 21      BY MR. SHELLY:

 22             Q.      Okay.      In that position, were you



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                                                                                  Page 177
   1     investigated for a conflict of interest in

   2     connection with that role?

   3                    MR. BOPP:         Oh, I object.              Jiminy

   4     Christmas.        Way beyond the scope of the court

   5     order and the subject matter, and I instruct him

   6     not to answer.

   7     BY MR. SHELLY:

   8            Q.      And my next question was, was that

   9     conflict of interest related to a contract that

 10      the department gave to a company that you

 11      subsequently went to work for?

 12                     MR. BOPP:         Same objection.                  Same

 13      instructions.

 14      BY MR. SHELLY:

 15             Q.      Mr. Phillips, were you previously the

 16      deputy Health and Human Services commissioner in

 17      Texas?

 18                     MR. BOPP:         Since 2012 --

 19                     MR. SHELLY:           Yes.

 20                     MR. BOPP:         You can answer.

 21      BY MR. SHELLY:

 22             Q.      Was your answer no?



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                                                                           Page 178
   1            A.      Since 2012, no.

   2            Q.      Were you previously employed by the

   3     State of Texas?

   4            A.      Not since 2012.

   5            Q.      Were you investigated for a conflict of

   6     interest in connection with that role?

   7                    MR. BOPP:         Object.         It goes beyond the

   8     scope of the subject matter, the deposition, and

   9     I'll instruct him not to answer.

 10                     MR. SHELLY:           Okay.       So just to review, I

 11      asked questions related to Mr. Phillips' 2016

 12      analysis of non-citizen voting, the nature of data

 13      acquisition that he performed for True the Vote,

 14      some of his personal views about voter fraud, and

 15      his previous employment history.

 16                     I understand that, Mr. Bopp, you are

 17      instructing counsel [sic] not to answer any of

 18      those questions.            It's our position that that is

 19      in violation of the Federal Rules and the court

 20      order.

 21                     So I would repeat our request one more

 22      time that he be instructed to answer each of those



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                                                                              Page 179
   1     questions or else we will take up those issues

   2     with Judge Jones.

   3                    MR. BOPP:         I'm standing on my objection.

   4                    MR. SHELLY:           Okay.

   5                    Let's take another ten minutes, but I

   6     think we are getting close to the end here.

   7                    MR. BOPP:         All righty then.

   8                    THE VIDEOGRAPHER:               The time is 2:31 p.m.

   9     We are now off the record.

 10                     (Recess from the record.)

 11                     THE VIDEOGRAPHER:               The time is 2:47 p.m.

 12      We are now on the record.

 13                     MR. SHELLY:           Okay.       I just wanted to go

 14      back on the record to confirm that I didn't have

 15      any other questions for Mr. Phillips.

 16                     MR. BOPP:         All righty.            I have no

 17      questions.        We would like to have Mr. Phillips

 18      review the transcript and sign.

 19                     THE VIDEOGRAPHER:               Counsel, does this

 20      conclude for today's deposition?

 21                     MR. SHELLY:           Yes, it does.

 22                     THE VIDEOGRAPHER:               All right.         This



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                                                                            Page 180
   1     concludes for today's deposition.                         The date is

   2     January 25th, 2022.              The time is 2:47 p.m.            We are

   3     now off the record.

   4                    (Off the record at 2:47 p.m. ET)

   5

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                                                                           Page 181
   1     STATE OF MARYLAND                  )
   2                                      ss:
   3     COUNTY OF MONTGOMERY               )
   4
   5                    I, Matthew Goldstein, Notary Public
         within and for the State of Maryland, do hereby
   6     certify:
                        That I reported the proceedings in the
   7     within entitled matter, and that the within
         transcript is a true record of said proceedings.
   8                    I further certify that I am not related
         to any of the parties to the action by blood or
   9     marriage, and that I am in no way interested in
         the outcome of this matter.
 10                     IN WITNESS WHEREOF, I have hereunto set
         my hand this 7th day of February, 2022.
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21                                    ____________________________
 22                                     Matthew Goldstein, RMR, CRR


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                                                                           Page 182
  1           Gregg Phillips, c/o

              THE BOPP LAW FIRM

  2           1 S 6th Street

              Terre Haute, Indiana 47807

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: January 25, 2022

  5           Deponent: Gregg Phillips

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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                (202) 232-0646
  3
  4             SIGNATURE PAGE
                Case: Fair Fight, Inc. et al. v. True the Vote, et al.
  5             Witness Name: Gregg Phillips
                Deposition Date: January 25, 2022
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Gregg Phillips

 10             Deposition Date: January 25, 2022

 11             Page No.        Line No.              Change

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21            ___________________________                         _____________

 22            Signature                                              Date



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